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                3DXO%DUQDUG)HEUXDU\15&)LOH3DJH

          42ND\

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  $$QGVRPHRQHVXSSOLHGWKHKRXUVWRPH

          4  $QGVRPHRQHVXSSOLHGWKHUDWHWR\RXDV
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  ZHOO"

         $ 1R7KH VWDWHGRHVWKDW
  $1R7KHVWDWHGRHVWKDW

          4  2KRND\
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         $ %HFDXVHLI\RXZRUNZLWK277(5WKDW V
  $%HFDXVHLI\RXZRUNZLWK277(5WKDW

  UHPHPEHUWKDWILHOG,FDQ WFKDQJH

          4  5LJKW
           45LJKW

         $ 6RHDFK\HDUWKHVWDWHZRXOGVHQGXVWR
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 277(5RXU277(5FRS\WKHUDWHWKHSHUFHQWDJHV

 WKDW,FDQ WFKDQJHWKH8,UDWH,FDQ WFKDQJH

 DQ\RIWKLVVWXII

         4,MXVWDQG,DSRORJL]H

 $7KDW VRND\

         43HUKDSVP\TXHVWLRQZDVZURQJ

 $7KDW VRND\

         4,MXVWPHDQW,WKLQN,UHPHPEHU\RXVD\LQJ

 WKDW\RXFKHFNHGWKHUDWHWKDWZDVRQWKHIRUPWR

 VHHLILWPDWFKHGWKHUDWHWKDWZDVLQ/DZVRQ"

 $1R,QHYHUVDLGWKDW

         41R"2KRND\'LGDQ\RQHGRWKDW"'R

 \RXNQRZ"

 $,GRQ WNQRZDQ\WKLQJDERXWZRUNHUV FRPS

         42ND\




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                3DXO%DUQDUG)HEUXDU\15&)LOH3DJH

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  EHKDOIRIWKH1$(*(/,5(3257,1*&25325$7,21,GRKHUHE\

  FHUWLI\WKDW,KDYHDFFXUDWHO\PDGHWKHYLGHRUHFRUGLQJRI

  WKHGHSRVLWLRQRI3DXO%DUQDUGLQWKHDERYHFDSWLRQHG

  PDWWHURQWKHWKGD\RI)HEUXDU\WDNHQDWWKH

  ORFDWLRQRI%DOERD$YHQXH&RUSRUDWH+HDGTXDUWHUV

  'LHJR&$FRQVLVWLQJRI'9' V 

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 SDUWLHVLQWKHDFWLRQDQGKDYHQRILQDQFLDOLQWHUHVWLQ

 RXWFRPHRIWKLVPDWWHU

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  DQGIRUWKH6WDWHRI&DOLIRUQLD&HUWLILFDWH1RGR

  KHUHE\FHUWLI\

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  7KDWWKHZLWQHVVLQWKHIRUHJRLQJGHSRVLWLRQZDVE\PH

  GXO\VZRUQWRWHVWLI\WRWKHWUXWKWKHZKROHWUXWKDQG

 QRWKLQJEXWWKHWUXWKLQWKHIRUHJRLQJFDXVHWKDWWKH

 GHSRVLWLRQZDVWKHQUHSRUWHGE\PHLQVKRUWKDQGDQG

 WUDQVFULEHGWKURXJKFRPSXWHUDLGHGWUDQVFULSWLRQXQGHU

 GLUHFWLRQDQGWKDWWKHDERYHDQGIRUHJRLQJWUDQVFULSWLV

 WUXHUHFRUGRIWKHWHVWLPRQ\HOLFLWHGDQGSURFHHGLQJV

 VDLGGHSRVLWLRQ

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 ,GRIXUWKHUFHUWLI\WKDW,DPDGLVLQWHUHVWHGSHUVRQ

 LQQRZD\LQWHUHVWHGLQWKHRXWFRPHRIWKLVDFWLRQRU

 FRQQHFWLRQZLWKRUUHODWHGWRDQ\RIWKHSDUWLHVLQWKLV

 DFWLRQRUWRWKHLUUHVSHFWLYHFRXQVHO

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 ,QZLWQHVVZKHUHRI,KDYHKHUHXQWRVHWP\KDQGWKLVUG

 GD\RI)HEUXDU\

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         RIWKHPVHOYHVDQGDOORWKHUV
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               6LOYLD'H&KDQGW)HEUXDU\15&)LOH3DJH

         4:KDWZDVKLVWLWOH"

  $+HZDVSD\UROODQDO\VW

         4'R\RXNQRZKRZORQJKHZDVLQWKDW

  SRVLWLRQ"

  $, PVRUU\,GRQ WUHFDOOWKHIXOOOHQJWK

  ,WZDVZHOORYHU\HDUVWKRXJK

         42ND\:HUH\RXVWLOODWWKHFRPSDQ\ZKHQ

  KHOHIWWKDWSRVLWLRQ"

  $1R,OHIWEHIRUHKHOHIW

        4  $OOULJKW6R KRZGLG0U%HUQDUGRUZKR
          4$OOULJKW6RKRZGLG0U%HUQDUGRUZKR

 ZKRHYHUKHOSHGKLPLQWKDWRURU\RX

 RYHUVHHLQJKRZGLGWKHSD\UROOGHSDUWPHQWILJXUH

 RXWZKDWWKHYDULRXVGLIIHUHQWWD[HVZHUHWKDWWKH\

 KDGWRWDNHRXWRIHYHU\RQH VSD\FKHFNVLQWKH

 GLIIHUHQWMXULVGLFWLRQV"

 $2ND\$UH\RXWDONLQJDERXWZLWKKROGLQJ"

        4:KDW VZKDW VWKHGLIIHUHQFH":KDWGR

 \RXPHDQ"

 $:HOOWKHUH VHPSOR\HUWD[HVDVZHOO

        42ND\

 $DV\RXSUREDEO\NQRZ6R,QHHGWR

 NQRZZKLFK

        46XUH:HOO

 $WD[\RX UHWDONLQJDERXW

        4<HDK:H OOZH OOVSOLWLWXS)RU




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               6LOYLD'H&KDQGW)HEUXDU\15&)LOH3DJH

  IRUQRZOHW VMXVWWDONDERXWWKHWD[HVWKDWDUH

  WDNHQRXWRIHPSOR\HHSD\FKHFNV

         $ 2ND\6RWKHZLWKKROGLQJZHZRUNHGZLWK
  $2ND\6RWKHZLWKKROGLQJZHZRUNHGZLWK

  WKH7DO[&RUSRUDWLRQIRUVRPHRILW%XWPDLQO\IRU

  WKHVLWZDVZLWK%6,7KDWZDVWKDWLVWKH

  WD[HQJLQHWKDWLVDWWDFKHGWRWKH/DZVRQSD\UROO

  V\VWHP

         4$QGZRXOGWKDWEHDGLIIHUHQWDQVZHUIRU

  WKHHPSOR\HUSDLGWD[HV"

 $)RUWKH)8,DQG68,WKDWZRXOGEH

 GLIIHUHQWEHFDXVHWKRVHDUHZHUHQHJRWLDWHGZLWK

 WKHVWDWHZLWKWKH7DO[&RUSRUDWLRQGHSHQGLQJXSRQ

 ZHOOZKHQ,VD\QHJRWLDWHWKDW VSUREDEO\WKH

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 WHQGWRGRWRRPXFKQHJRWLDWLQJ

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 DQ\WKLQJDERXW2UHJRQ VZRUNHUEHQHILWIXQGWD[",

 ,FDQ WILJXUHRXWZKLFKRIWKHFDWHJRULHVWKDW

 ZRXOGIDOOLQWR

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         42ND\$QGWKHQVRZKHWKHUWKHXSGDWHG

  UDWHFDPHIURPWKH6WDWHRI2UHJRQRUIURPULVN

  PDQDJHPHQWRUGLUHFWO\IURPWKH:RUNHUV &RPS

  FDUULHUZKRZRXOGEHWKHSHUVRQZKRZRXOGXSGDWH

  WKRVHUDWHVLQWKH/DZVRQSURJUDP"

  $,WZDVHLWKHUP\VHOI3DXORU%HWK

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         47KLVLV3DXO%HUQDUG"

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        4,VWKDW/,32/'IRU%HWK VQDPH"

 $<HV

        42ND\6RRQFHWKHWD[UDWHZDVLQSXWWHG

 LQWR/DZVRQGLG/DZVRQGRWKHPXOWLSO\LQJDQG

 DQGILJXULQJRXWRIKRZPXFKVKRXOGEHGHGXFWHGIURP

 SHRSOH VFKHFNV"

 $<HV

        4  $QGLVLVWKDWUDWHMXVWLQSXWWHGRQFH
          4$QGLVLVWKDWUDWHMXVWLQSXWWHGRQFH

 LQWRDPDVWHUSODFHRUGRHVLWKDYHWREHSXWLQWR

 HYHU\HPSOR\HH VUHFRUG"

         $ ,WLVSXWLQRQFHLQDGHGXFWLRQWDEOH
 $,WLVSXWLQRQFHLQDGHGXFWLRQWDEOH

 EHFDXVHHYHU\GHGXFWLRQKDVDFRGHDQGWKHQWKDW

 WDEOHLVXSGDWHGWRDOOWKHHPSOR\HHVLQGLYLGXDOO\

 7KHUH VDSURJUDPWKDW VUXQWRXSGDWHDOORIWKH

 GHGXFWLRQV

        4$QGGRHVWKDWXSGDWHHYHU\RQHLQWKHVDPH




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                6LOYLD'H&KDQGW)HEUXDU\15&)LOH3DJH

  NQRZWKHH[DFWSURFHVVWKDW3DXO

           45LJKW

  $GLG

           42ND\,VLVWKDWLVWKHUHVRPH

  JHQHUDOO\DFFHSWDEOHRUJHQHUDODSSURDFKWRDXGLWLQJ

  QXPEHUVWKDWLVWKDWKRZZRXOGWKDWFRPHDERXW

  LQJHQHUDO",VWKHUHDUH\RXFRPSDULQJWZR

  GLIIHUHQWWKLQJVWRHDFKRWKHURUZKDWZRXOGEHWKH

  SURFHVVRIWKDW"

 $$JDLQ,GRQ WWKLQN,VKRXOGDQVZHUWKDW

 EHFDXVH,GRQ WUHFDOOWKHH[DFWVWHSVWKDW3DXO

 WRRN

          42ND\$QGDJDLQ,FDQRQO\DVN\RXZKDW

 \RXNQRZ

 $5LJKW

          4$QGVRWKDW VDOO, PDVNLQJ

               :DVWKHUHDQDPHIRUWKHSURFHVVRUD

 EXWWRQWKDW\RXZRXOGSXVKRUVRPHRWKHUZD\WR

 LGHQWLI\ZKDWKDSSHQVZKHQ\RXLQSXWWKHUDWHOHW V

 VD\IRU2UHJRQZRUNHUVEHQHILWIXQGDQGWKHQWKDW

 VRPHKRZJHWVSRSXODWHGWRDOORIWKHHPSOR\HHVLQ

 WKDWDUHDDQGLVWKHUHVRPHQDPHIRUKRZWKDW

 KDSSHQVRU

         $ 7KHUH VDSURJUDPWKDW VUXQRQ/DZVRQ
 $7KHUH

 DQGLW V(PSOR\HH'HGXFWLRQ8SGDWH




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               6LOYLD'H&KDQGW)HEUXDU\15&)LOH3DJH

         4  2ND\,W VFDOOHG(PSOR\HH'HGXFWLRQ
          42ND\,W

  8SGDWH"

         $ <HV,W VDMRE
  $<HV,W

         4  6RLIWKDW VLIWKDW VEHHQGRQHFDQ
          46RLIWKDW

   \RXLIHYHU\ERG\ LQ2UHJRQLVVXSSRVHGWRKDYH
  \RXLIHYHU\ERG\LQ2UHJRQLVVXSSRVHGWRKDYH

  WKHVDPHUDWHFDQ\RXZRUNEDFNZDUGV"&DQ\RXMXVW

  SLFNXSRQHSHUVRQ VSD\VWXEDQGVD\RND\LI

  WKDW VWKHUDWHRQWKLVSD\VWXELWPXVWEHWKH

  UDWHIRUHYHU\RQHLQWKHVWDWH"

         $ <RXFDQ
 $<RXFDQ

        4  2ND\
          42ND\

         $ 'HSHQGLQJXSRQDJDLQWKHZRUNFRPSFODVV
 $'HSHQGLQJXSRQDJDLQWKHZRUNFRPSFODVV

 

        4  5LJKW
          45LJKW

         $ RIWKHLQGLYLGXDODWWKDWJLYHQSRLQW
 $RIWKHLQGLYLGXDODWWKDWJLYHQSRLQW

 LQWLPH

        4  2ND\,VLW\RXUXQGHUVWDQGLQJWKDWDOO
          42ND\,VLW\RXUXQGHUVWDQGLQJWKDWDOO

 RIWKHFUHZPHPEHUVMXVWWKHUHJXODUFUHZPHPEHU

 FODVVLILFDWLRQZHUHWKHVDPH:RUNHUV &RPSFODVVLQ

 WKHVWDWH"

         $ <HV
 $<HV

        4  $QGKRZDERXWWKHWKHWHDPOHDGHUV"
          4$QGKRZDERXWWKHWKHWHDPOHDGHUV"

 $UHWKH\LQWKHVDPHZRUNFRPSFODVV"

         $ <HV
 $<HV

        4  6REDVLFDOO\DOORIWKHQRQH[HPSWKRXUO\
          46REDVLFDOO\DOORIWKHQRQH[HPSWKRXUO\




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               6LOYLD'H&KDQGW)HEUXDU\15&)LOH3DJH

  HPSOR\HHVLVWKDWZKDWLVWKDWZKDW\RXPHDQE\

  WKH:RUNHUV &RPSFODVV"$UHWKH\DOOLQWKHVDPH

  RQH"

         $ <HV
  $<HV

         4  $OOULJKW6R WKH\ZRXOGDOOKDYHWKH
          4$OOULJKW6RWKH\ZRXOGDOOKDYHWKH

  VDPHZRUNHUVEHQHILWIXQGUDWH"

         $ <HV
  $<HV

         42ND\,I\RXZDQWHGWRJREDFNDIWHUWKH

  IDFWDQGFKHFNWRVHHLIWKHSURSHUUDWHZDV

 ZLWKKHOGGXULQJDQ\SHULRGRIWLPHKRZZRXOG\RXJR

 DERXWWKDWJLYHQ\RXUNQRZOHGJHRIWKHFRPSXWHU

 V\VWHPVWKDW,GRQ WKDYH":KDWZRXOG\RXFKHFNWR

 VHHLIWKDWZDVGRQHFRUUHFWO\"

 $,ZRXOGILUVWKDYHWRVHHWKHSHUVRQZKDW

 SRVLWLRQWKH\KHOGWKDWZRXOGEHP\ILUVWWKLQJDW

 WKHWLPHWKDWWKH\UHFHLYHGSD\PHQWDQGWKHQFKHFN

 ZLWKRXUKLVWRULFDOGRFXPHQWDWLRQRQZKDWWKHUDWH

 VKRXOGKDYHEHHQDWWKDWWLPH

        42ND\$QGZKDWZRXOGWKDWKLVWRULFDO

 GRFXPHQWDWLRQEH"

 $7KHIRUPWKDWFDPHLQIURPWKHVWDWH

 DQGRUWKHLQVXUDQFHFDUULHU

        4$QG\RXVDLGWKDWWKRVHZHUHNHSWE\

 ZRXOGWKRVHEH$UOHWWHWKDWNHSWWKDWWKHWKDW

 SDSHUZRUN"




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               6LOYLD'H&KDQGW)HEUXDU\15&)LOH3DJH

  $%LZHHNO\RUZKHQHYHUZHZRXOGQHHGLW

  <RXNQRZLIZHZHUHJRLQJWRIUDQFKLVHDUHVWDXUDQW

  RU\RXNQRZZKDWZKDWHYHUZHQHHGHGIRUSD\PHQW

  JLYHQWKHFLUFXPVWDQFH

         45LJKW,QLQWKHW\SLFDOVLWXDWLRQ

  WKDWZDVQ WDIUDQFKLVHRUDWHUPLQDWLRQRU

  VRPHWKLQJZKHUH\RXQHHGHGLWLQWKHPLGGOHZDVWKH

  W\SLFDOWUDQVIHUSHULRGIRUHYHU\ERG\IRUWKRVH

  ELZHHNO\SD\SHULRGV"

 $&RUUHFW

        4  $QGVRQRZVKLIWLQJJHDUVWRWKH-DFN V
          4$QGVRQRZVKLIWLQJJHDUVWRWKH-DFN

 7LPHNHHSLQJV\VWHP)LUVWRIDOOZKHQZKHQGLG

 WKDWVWDUWRUDSSUR[LPDWHO\"

         $ 7KDWZDVVXFKDORQJSURMHFW,FDQQRW
 $7KDWZDVVXFKDORQJSURMHFW,FDQQRW

 UHPHPEHUZKHQWKDWVWDUWHG%XWZKHQ,OHIWWKH

 SURMHFWZDVJRLQJRQVHYHQRUHLJKW\HDUV

        4+DGLWJRQHOLYH\HW"

 $,WKDGJRQHOLYHEXWQRWDKXQGUHG

 SHUFHQWWKURXJKRXWWKHFRPSDQ\UHVWDXUDQWV

        42ND\:DVLWDGLIIHUHQWVRIWZDUH

 SURYLGHUWKDQ.URQRV"

 $<HVLWZDV

        42ND\:KRDQGZKRZDVWKHQHZRQH"

 $, YHIRUJRWWHQ

        42ND\




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               6LOYLD'H&KDQGW)HEUXDU\15&)LOH3DJH

  $WKHWKHWKHQDPHEHFDXVHZHWKHQ

  VXEVHTXHQWO\SXUFKDVHGWKHZKROHWKLQJDQGUHQDPHG

  LW-DFN V7LPHNHHSLQJ

         4  2KRND\$OOULJKW:HUH\RXLQYROYHG
          42KRND\$OOULJKW:HUH\RXLQYROYHG

  LQWKHGHFLVLRQWRFKDQJHIURP.URQRVWRWKHQHZ

  V\VWHP"

         $ <HV
  $<HV

         4  2ND\$QGZK\ZDVWKDWGHFLVLRQPDGH"
          42ND\$QGZK\ZDVWKDWGHFLVLRQPDGH"

  :K\GLGWKH\GHFLGHGWRVZLWFKRYHU"

         $ 7KHPDLQUHDVRQLVWKDWWKHSXQFKHVUHVLGH
 $7KHPDLQUHDVRQLVWKDWWKHSXQFKHVUHVLGH

 RQ DILOHVHUYHUKHUHLQWKLVEXLOGLQJDQGQRZ
   RQDILOHVHUYHUKHUHLQWKLVEXLOGLQJDQGQRZ

 \RX UHQRWDWWKHPHUF\RIWKDWVSHFLILF3&DWHYHU\

 VLQJOHUHVWDXUDQW$QGLIWKHUH VDSUREOHPZLWK

 WKDWVSHFLILF3&DWWKHUHVWDXUDQWLWZDVDUHDO

 KDUGVKLSRQWU\LQJWRJHWWKDWILOH$QGPDQ\

 \RXNQRZLWZRXOGWKHQZH GKDYHWREHGHDOLQJ

 ZLWKUHSRUWVWKDWPDQDJHUKDGDQGZHWULHGWR

 \RXNQRZLWWKDWWKDWZDVWKHPDLQWKLQJLV

 WKDWWKHRWKHUWKLQJLVWKDWZHFRXOGSXWPRUH

 \RXNQRZPRQLWRUVRQRQWKHV\VWHP

        4  7HOOPHZKDW\RXPHDQE\WKDW
          47HOOPHZKDW\RXPHDQE\WKDW

         $ (PSOR\HHVKDYHWRKDYHWKHLUIXOO
 $(PSOR\HHVKDYHWRKDYHWKHLUIXOO

 PLQXWHEUHDN:HGRQ WZDQWWKHPFORFNLQJLQDW

 PLQXWHV7KH\PXVWKDYHWKHLUKDOIDQKRXUEUHDN

 :H GRQ WZDQWWKHPFORFNLQJEDFNLQDWPLQXWHV
   :HGRQ




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  $QGWKH\PD\KDYHWKRXJKWWKDWZDVRND\EXWZH

  UHDOL]HGWKDWZDVQRWRND\DQGZHKDGWR\RXNQRZ

  PDNHWKHPWDNHWKHLUIXOOEUHDN

         42ND\:DVWKHUHDWHDPWKDWZHQWDERXW

  SODQQLQJDQGPDNLQJWKHWUDQVLWLRQDQGGHFLGLQJZKDW

  ZRXOGEHFKDQJHG"

  $2K\HDK$QGDQGLWZDVDUDWKHU

  ODUJHWHDPEHFDXVH\RXNQRZZHKDGWRKDYH

  UHVWDXUDQWPDQDJHUVLQYROYHGDUHDFRDFKHVUHJLRQDO

 VWDII+5SD\UROO,6

        4:DVOHJDOLQYROYHGDVZHOO"

 $<HV

        42ND\'R\RXNQRZZKDWWKHUXOHVZHUH

 IURP-DFN V7LPHNHHSLQJLQWHUPVRIKRZORQJDEUHDN

 KDGWREHEHIRUHLWZDVSDLGRUXQSDLG"

 $,GRQRW

        42ND\,IDPDQDJHUQHHGVWRPDNHDFKDQJH

 WRDQHPSOR\HHSXQFKVD\WKDWDQHPSOR\HHIRUJRWWR

 SXQFKLQDWWKHEHJLQQLQJRIWKHGD\

 $8PKXP

        4RUVRPHWKLQJOLNH

 $8PKXP

        4WKDWXQGHUWKH.URQRVV\VWHPDIWHU

 WKHLQIRUPDWLRQKDGDOUHDG\EHHQWUDQVIHUUHGWR)0

 7LPHNHHSLQJ VLF ZRXOGWKHUHEHDZD\IRUWKDW




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              6LOYLD'H&KDQGW)HEUXDU\15&)LOH3DJH

         47KLVWDONVDERXWWKHJUDYH\DUGVKLIW

  ZKLFKVD\VKHUHLVEHWZHHQLIWKH\WDNHDPHDO

  EUHDNEHWZHHQSPDQGDPWKHQWKH\ UH

  SDLGIRUWKDWWLPHLVWKDW\RXUXQGHUVWDQGLQJ"

  $<HV

         42ND\$QGLW VRWKHUSHRSOHKDYH

  WHVWLILHGWKDWWKDW VEHFDXVHWKH\ UHQRWDOORZHGWR

  OHDYHWKHVWRUH

  $&RUUHFW

        4:RXOGLWLVWKDWVHSDUDWHGRXWLQDQ\

 ZD\RQWKHLUSD\VWXEDVWRVHSDUDWHO\SDLGRULV

 LWMXVWFRQWDLQHGLQWKDWKRXUVZRUNHGQXPEHU"

 $,W VFRQWDLQHGLQWKDWKRXUVZRUNHG

 QXPEHU

        4  2ND\,ILWVD\VWKHQDIWHUWKRVH
          42ND\,ILWVD\VWKHQDIWHUWKRVH

 H[DPSOHVLWVD\V 5HPHPEHUWKDWPHDOEUHDNVDUH
   H[DPSOHVLWVD\V5HPHPEHUWKDWPHDOEUHDNVDUH
      P

 PLQXWHVRUJUHDWHULQWKHVWDWHRI:DVKLQJWRQDQG

 PLQXWHVRUJUHDWHULQDOORWKHUVWDWHV$OO

 RWKHUEUHDNVDUHUHVWEUHDNVZKLFKDUHSDLG,V

 WKDWGRHVWKDWPHDQWKDWDQ\WKLQJPRUHWKDQ

 PLQXWHVLQ2UHJRQZRXOGEHXQSDLG"

         $ :KDWLW VVD\LQJKHUHLVLIWKHEUHDNLV
 $:KDWLW

 RYHUPLQXWHVORQJ

        4  8PKXP
          48PKXP

         $ LWZRXOGEHFRQVLGHUHGDPHDOEUHDN
 $LWZRXOGEHFRQVLGHUHGDPHDOEUHDN




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              6LOYLD'H&KDQGW)HEUXDU\15&)LOH3DJH

         4  ,VHH$QGVRDQGWKH\GRQ WSD\"
          4,VHH$QGVRDQGWKH\GRQ

         $ $QGLWZRXOGEHXQSDLG
  $$QGLWZRXOGEHXQSDLG

         4  2ND\
          42ND\

         $ %XWLIWKHEUHDNZDVPLQXWHVRUXQGHU
  $%XWLIWKHEUHDNZDVPLQXWHVRUXQGHU

  LW ZRXOGEHFRQVLGHUHGDEUHDNDQGZRXOGEHDUHVW
   LWZRXOGEHFRQVLGHUHGDEUHDNDQGZRXOGEHDUHVW

  EUHDNDQGZRXOGEHSDLG

         4  ,VHH
          4,VHH

         $ 7KHPLQXWHVLVDIHGHUDOODZ
  $7KHPLQXWHVLVDIHGHUDOODZ

         42ND\'R\RXNQRZZKHWKHUWKHUH VDQ

 2UHJRQODZDVHSDUDWH2UHJRQODZ"

 $,GRQRW

        42ND\

 $NQRZ

        4:KHUHZRXOG\RXJRWRILQGWKDWRXWLI\RX

 KDGWR"

 $:HXVHGDQRQOLQHVHUYLFHFDOOHG5,$

 &KHFNSRLQWDQGWKDWZDVRXURQOLQHVHUYLFH:H

 ZRXOG\RXNQRZSD\LWDQQXDOO\RURUPD\EH

 FRQWUDFWVRPHWLPHVIRUDFRXSOHRI\HDUV%HVLGHV

 ZKLFKWKHZKHQZHZRXOGILQGRXWLIWKHUHZDVD

 FKDQJHRU\RXNQRZVRPHWKLQJOLNHWKDWZHZRXOG

 FKHFNWKDWDVZHOODVZH GJRRXWWRWKHDVWDWH

 ODERUERDUGZHEVLWHDQGJHWZKDWHYHUUHTXLUHPHQWVZH

 FDQILQGWKHUHMXVWWRPDNHVXUHWKDWWKH

 LQIRUPDWLRQLVFRQVLVWHQW




                                                                                                                 Exhibit 3
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              6LOYLD'H&KDQGW)HEUXDU\15&)LOH3DJH

                7+(9,'(2*5$3+(5%DFNRQUHFRUG7KH

  WLPHLVDP

  %<05(*$1

         4-XVWDFRXSOHPRUHWKLQJVEHIRUHZHOHW

           7KDWPLQXWHGLYLGLQJOLQHEHWZHHQZKDW V
  \RXJR7KDWPLQXWHGLYLGLQJOLQHEHWZHHQZKDW

  SDLGDQGZKDW VXQSDLGIRUDUHVWSHULRGRUDPHDO

  SHULRGZDVWKDWWKHVDPHXQGHUWKH.URQRVV\VWHP

  DQGWKH-DFN V7LPHNHHSLQJV\VWHP"

         $ <HV
  $<HV

        4$OOULJKW$QGP\RWKHUTXHVWLRQLVZKR

 GLG\RXUHSRUWWR":KRZDVDERYH\RXRQWKH

 KLHUDUFK\LQWKHFRPSDQ\"

 $,UHSRUWHGWR-LP/HEEVIRUDZKLOHDQG

 WKHQ,UHPHPEHUHGKLVODVWQDPHWKLVWLPH$QG

 DQGWKHQ,UHSRUWHGWR:HQG\6DQGHUOLQ$QG

 SUHYLRXVWRWKDWLWZDV0DU\.UHJDQ

        4$IWHU-LP"

 $,WZDVEHIRUH-LP

        42ND\6R0DU\.UHJDQWKHQ-LP/HEEV

 WKHQ:HQG\6DQGHUOLQ"

 $&RUUHFW

        4'LGWKH\DOOKDYHWKHVDPHMREWLWOH"

 $1R

        42ND\:KDWZKDWZHUHWKHLUGLIIHUHQW

 MREWLWOHV"




                                                                                                                 Exhibit 3
                                                                                                              Page 13 of 15
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               6LOYLD'H&KDQGW)HEUXDU\15&)LOH3DJH

  &(57,),&$7(2)9,'(2*5$3+(5

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  ,WKHXQGHUVLJQHG-DPLH&DUOVRQDPDYLGHRJUDSKHU

  EHKDOIRIWKH1$(*(/,5(3257,1*&25325$7,21,GRKHUHE\

  FHUWLI\WKDW,KDYHDFFXUDWHO\PDGHWKHYLGHRUHFRUGLQJRI

  WKHGHSRVLWLRQRI6\OYLD'HFKDQGWLQWKHDERYHFDSWLRQHG

  PDWWHURQWKHWKGD\RI)HEUXDU\WDNHQDWWKH

  ORFDWLRQRI%DOERD$YHQXH&RUSRUDWH+HDGTXDUWHUV

  'LHJR&$FRQVLVWLQJRI'9' V 

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 1RDOWHUDWLRQVDGGLWLRQVRUGHOHWLRQVZHUHPDGH

 WKHUHWR

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 ,IXUWKHUFHUWLI\WKDW,DPQRWUHODWHGWRDQ\RIWKH

 SDUWLHVLQWKHDFWLRQDQGKDYHQRILQDQFLDOLQWHUHVWLQ

 RXWFRPHRIWKLVPDWWHU

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 -DPLH&DUOVRQ

 9LGHRJUDSKHU

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 'DWH

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                                                                                                                  Exhibit 3
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              6LOYLD'H&KDQGW)HEUXDU\15&)LOH3DJH

  &(57,),&$7(

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  ,/HR.QLHEHOGRKHUHE\FHUWLI\WKDWSXUVXDQWWR

  5XOHVRI&LYLO3URFHGXUHWKHZLWQHVVQDPHGKHUHLQ

  EHIRUHPHDWWKHWLPHDQGSODFHVHWIRUWKLQWKHFDSWLRQ

  KHUHLQWKDWDWWKHVDLGWLPHDQGSODFH,UHSRUWHGLQ

  VWHQRW\SHDOOWHVWLPRQ\DGGXFHGDQGRWKHURUDOSURFHHGLQJV

  KDGLQWKHIRUHJRLQJPDWWHUDQGWKDWWKHIRUHJRLQJ

  WUDQVFULSWSDJHVFRQVWLWXWHDIXOOWUXHDQGFRUUHFW

 RIVXFKWHVWLPRQ\DGGXFHGDQGRUDOSURFHHGLQJKDGDQGRI

 ZKROHWKHUHRI



 ,1:,71(66+(5(2),KDYHKHUHXQWRVHWP\KDQGWKLV

 WKGD\RI)HEUXDU\

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 6/HR.QLHEHO

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 &RPPLVVLRQ([SLUDWLRQ0DUFK



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                                                                                                                 Exhibit 3
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         RIWKHPVHOYHVDQGDOORWKHUV
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                                                                           3DJHRI
     Case 3:14-cv-01092-BR         Document 182-1            Filed 05/24/19         Page 56 of 194
               %DUEDUD.OXVHN)HEUXDU\15&)LOH3DJH

  DQDO\VW6KH VDFWXDOO\QHZWRWKHWD[JURXS6KH

  MXVWMRLQHG

  7KHUHLV'DQLHOOH6XOOLYDQ6KH VD

  DQDO\VWUHVSRQVLEOHIRUWD[HV$QG$UOHWWH-XPRF

         4-XPRF"

  $-XPRF\HV

         4$QGVKHDQDQDO\VWDVZHOO"

  $6KH VDQDQDO\VWDVZHOO

         4+RZORQJKDV6KHUU\+XGVRQEHHQGHDOLQJ

 ZLWKWKHWD[SDUWRILW"

 $6KHUU\MRLQHG-DFNLQWKH%R[LQ-XQHRI

 ODVW\HDUVRLW V

        4,QWKDWUROH"

 $,QWKDWUROH\HV

        4'R\RXNQRZKRZORQJ'DQLHOOH6XOOLYDQKDV

 EHHQZLWKWKHWD[JURXS"

 $'RQ WNQRZH[DFWO\

        46LQFHEHIRUH\RXFDPH"

 $$EVROXWHO\

        4$QGKRZDERXW$UOHWWH-XPRF"

 $6DPHVLWXDWLRQPDQ\\HDUV

        42ND\

 $%XW,GRQ WNQRZH[DFWO\KRZPDQ\

        4  ,QSUHSDULQJIRUWRGD\ VGHSRVLWLRQGLG
          4,QSUHSDULQJIRUWRGD\

 \RXJREDFNDQGORRNDWWKHUDWHRIZRUNHU VEHQHILW




                                                                                                                ([KLELW
                                                                                                              3DJHRI
     Case 3:14-cv-01092-BR          Document 182-1            Filed 05/24/19         Page 57 of 194
                %DUEDUD.OXVHN)HEUXDU\15&)LOH3DJH

  IXQGGHGXFWLRQWKDWZDVGHGXFWHGIURPHPSOR\HHVLQ

  2UHJRQ"

         $ <HV
  $<HV

         4  $QGZKDWZDVWKHUDWHWKDWZDVXVHG"
          4$QGZKDWZDVWKHUDWHWKDWZDVXVHG"

         $ 7KHUDWHWKDWZDVXVHGRQWKHSD\FKHFNV
  $7KHUDWHWKDWZDVXVHGRQWKHSD\FKHFNV

  WKDW,UHYLHZHGZDVSHUFHQW

         4  &HQWVSHUKRXU"
          4&HQWVSHUKRXU"

         $ 3HU\HV
  $3HU\HV

         4  'R\RXNQRZZKDWUDWHZDVSDLGWRWKH
          4'R\RXNQRZZKDWUDWHZDVSDLGWRWKH

 2UHJRQJRYHUQPHQW"

         $ , WKHODVWUHSRUWWKDWZDVVHQWWRWKH
 $,WKHODVWUHSRUWWKDWZDVVHQWWRWKH

 2UHJRQZDVSDLGDW

        4  FHQWVSHUKRXU"
          4FHQWVSHUKRXU"

         $ <HV
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               053$5.(5:DLWDPLQXWH
                 053$5.(5 :DLWD PLQXWH

               7+(:,71(661RSHUFHQWWRWDO
                 7+(:,71(66 1RSHUFHQWWRWDO

 %<05(*$1

        4  3HUFHQWRIWKHZDJHV"
          43HUFHQWRIWKHZDJHV"

         $ 3HUFHQWRIQRWZDJHVKRXUVFHQW
 $3HUFHQWRIQRWZDJHVKRXUVFHQW

 SHUKRXU

        4  6RIRULIDQHPSOR\HHZRUNVRQHKRXU
          46RIRULIDQHPSOR\HHZRUNVRQHKRXU

 -DFNLQWKH%R[ VHQGVDFKHFNWRWKHVWDWHIRU
   -DFNLQWKH%R[VHQGVDFKHFNWRWKHVWDWHIRU

 FHQWV"

         $ &RUUHFW
 $&RUUHFW

        4  $OOULJKW$QGVRLVLW\RXU
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                                                                                                                 ([KLELW
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     Case 3:14-cv-01092-BR         Document 182-1            Filed 05/24/19         Page 58 of 194
               %DUEDUD.OXVHN)HEUXDU\15&)LOH3DJH

  XQGHUVWDQGLQJWKDW-DFNLQWKH%R[FRUSRUDWLRQSD\V

  RQHFHQWWRZDUGVWKDWWRWDODQGWKHHPSOR\HHVSDLG

  FHQWVWRZDUGVWKDWWRWDO"

         $ %DVHGRQWKHFDOFXODWLRQVWKDW, YHVHHQ
  $%DVHGRQWKHFDOFXODWLRQVWKDW,

  ,EHOLHYHWKDW ZDVWKHFDVH
   ,EHOLHYHWKDWZDVWKHFDVH

         4  2ND\$QGZKDWWLPHIUDPHZHUHWKH
          42ND\$QGZKDWWLPHIUDPHZHUHWKH

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         4$UHWKHUHFRUSRUDWHVWRUHVLQ2UHJRQ

 VWLOO"

 $1R

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 $1R

        4  :KHQZDVWKHODVWWLPH-DFNLQWKH%R[KDG
          4:KHQZDVWKHODVWWLPH-DFNLQWKH%R[KDG

 DQ\FXUUHQWHPSOR\HHVLQ2UHJRQ"

         $ ,Q6HSWHPEHURIODVW\HDU
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        4  "
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        4  $QGDWWKDWWLPHFHQWVDQKRXUZDV
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 VWLOOEHLQJSDLGDQGFHQWVDQKRXUZDVVWLOO

 EHLQJZLWKKHOG"

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        4  'R\RXKDYHDQ\XQGHUVWDQGLQJDVWRZKDW
          4'R\RXKDYHDQ\XQGHUVWDQGLQJDVWRZKDW

 WKHOHJDOUDWHWKDWZDVUHTXLUHGE\WKHVWDWHRI




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     Case 3:14-cv-01092-BR         Document 182-1            Filed 05/24/19         Page 59 of 194
               %DUEDUD.OXVHN)HEUXDU\15&)LOH3DJH

  2UHJRQZDVIRUWKDWZLWKKROGLQJ"

         $ <HV
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         4  2ND\$QGZKDWLVWKDW"
          42ND\$QGZKDWLVWKDW"

         $ 7KHUDWHVKRXOGEHWRWDOFHQWVSHU
  $7KHUDWHVKRXOGEHWRWDOFHQWVSHU

  KRXUVSOLWHYHQO\EHWZHHQHPSOR\HHDQGHPSOR\HU

         4$QGGR\RXKDYHDQ\LGHDZK\-DFNLQWKH

  %R[ZDVZLWKKROGLQJPRUHPRUHWKDQKDOI"

  $1R,P\VHOIIRXQGRXWWKHGHWDLOVRILW

  MXVWODVWZHHNDV,ZDVGRLQJP\SUHSDUDWLRQIRU

 WKLVGHSRVLWLRQ6R,GLGQ WNQRZWKDWWKHUHZDVDQ

 HUURU

        42ND\

 $6R,FDQ WVSHDNWRZKDWKDSSHQHGLQWKH

 SDVW\HDUV

        42ND\'R\RXNQRZZKHWKHUWKHUHDUH

 SDSHUVWKDWDUHRUVRPHIRUPRIQRWLFHWKDW V

 UHFHLYHGIURPWKH2UHJRQJRYHUQPHQWDVWRZKDWWKH

 QHZUDWHVDUH"

 $,KDYHQRWVHHQRQH

        42ND\

 $,KHDUGWKDWWKHUHZHUHEXW,FDQ W,

 KDYHQHYHUVHHQRQH

        42ND\:KRLILWZDV\RXUDWWRUQH\V

 GRQ WWHOOPHEXWGLG\RXKHDUIURPVRPHRQHHOVH

 ZKDWWKRVHQRWLFHVZHUH"




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               %DUEDUD.OXVHN)HEUXDU\15&)LOH3DJH

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         42ND\$QGZKRDUHWKHHPSOR\HHVLQWKH

  JURXSWKDWDQVZHUVTXHVWLRQVDERXWVKRHGHGXFWLRQV"

  $/LVD'HDULQJ/HDQQH7HOOH]DQGWKH

  VXSHUYLVRU7RQ\D(OVRP:DOWRQ6KH VDVXSHUYLVRU

  RI/LVD6KHZRXOGEHDEOHWRDVVLVWLQTXHVWLRQV

  DERXWVKRHV

         4<RX UHJRLQJWRKDYHWRVSHOOKHUQDPHIRU

  XV

 $7RQ\D7RQ\D(OVRP(OVRP

 :DOWRQ:DOWRQ

        4  6RZHXQGHUVWDQGIURPRWKHUSHRSOHWKDW
          46RZHXQGHUVWDQGIURPRWKHUSHRSOHWKDW

 KDYHFRPHLQDQGWDONHGWRXVLQWKHVHGHSRVLWLRQV

 WKDWHPSOR\HHVFDQSXUFKDVHVKRHVIURPYDULRXV

 YHQGRUVQRQVOLSVKRHVE\SD\UROOGHGXFWLRQ,V

 WKDWVWLOOWKHFDVH"

         $ &RUUHFW
 $&RUUHFW

        4  $QGKRZPDQ\SD\FKHFNVLVWKDWVSOLWRYHU"
          4$QGKRZPDQ\SD\FKHFNVLVWKDWVSOLWRYHU"

         $ )RXU
 $)RXU

        4  'RHVWKHHPSOR\HHJHWWRSLFNKRZPDQ\RU
                         P
          4'RHVWKHHPSOR\HHJHWWRSLFNKRZPDQ\RU

 WKDW VMXVWDXWRPDWLFDOO\GRQH"

         $ 7KDW LVDXWRPDWLFDOO\WKHVDPHDQGWKDW
 $7KDWLVDXWRPDWLFDOO\WKHVDPHDQGWKDW

 ZRXOGDSSO\WR DOOHPSOR\HHV
   ZRXOGDSSO\WRDOOHPSOR\HHV

        4$QGDUHWKHUHGLIIHUHQWYHQGRUVWKDWKDYH

 WKDWRSWLRQDYDLODEOH"




                                                                                                                ([KLELW
                                                                                                              3DJHRI
     Case 3:14-cv-01092-BR         Document 182-1            Filed 05/24/19         Page 61 of 194
               %DUEDUD.OXVHN)HEUXDU\15&)LOH3DJH

         4$UOHWWH-XPRF"

  $-XPRF

         4$QGDUHWKHVHSDSHUILOHVOLNHILOH

  FDELQHWVRUDUHWKH\LQWKHFRPSXWHURU

  $%RWK

         4%RWK"

  $<HV

         42ND\'R\RXNQRZZKHWKHUDOORIWKH

  ZRUNHUVLQ2UHJRQSDLGWKHVDPHZRUNHUV EHQHILW

 IXQGUDWH"

 $,GRQ WNQRZWKDWIRUVXUH,ZRXOG

 DVVXPH

        4  $OOULJKW,V WKHUHDSURJUDPWKDW
          4$OOULJKW,VWKHUHDSURJUDPWKDW

 DXWRPDWLFDOO\SRSXODWHVDOOWKHZRUNHUVLQD

 MXULVGLFWLRQZLWKWKHVDPHWD[UDWHRUGRHVVRPHERG\

 KDYHWRJRLQDQGFKDQJHWKHPRQHE\RQH"

         $ ,W VDXWRPDWLFEHFDXVHWKHGHGXFWLRQIRU
 $,W

 H[DPSOH2UHJRQZRUNHUV FRPSLVDLVRQH

 GHGXFWLRQFRGHEXWLW VXVHGLQWKHVDPHZD\IRU

 DQ\HPSOR\HHV

        4  6RWKHGHGXFWLRQFRGHLVSURJUDPPHGZLWK
          46RWKHGHGXFWLRQFRGHLVSURJUDPPHGZLWK

 WKHSHUFHQWDJHUDWH"

         $ &RUUHFW
 $&RUUHFW

        4  $QGWKHQDQ\RQHZKRXVHVWKDWGHGXFWLRQ
          4$QGWKHQDQ\RQHZKRXVHVWKDWGHGXFWLRQ

 FRGHKDVWKHVDPHUDWHDSSOLHGWRWKHP"




                                                                                                                 ([KLELW
                                                                                                               3DJHRI
     Case 3:14-cv-01092-BR         Document 182-1            Filed 05/24/19         Page 62 of 194
               %DUEDUD.OXVHN)HEUXDU\15&)LOH3DJH

         $ &RUUHFW
  $&RUUHFW

         4  'R\RXNQRZZKHWKHUDOORIWKH2UHJRQ
          4'R\RXNQRZZKHWKHUDOORIWKH2UHJRQ

  OHW VVD\WKH2UHJRQKRXUO\HPSOR\HHVKDGWKDWVDPH

  GHGXFWLRQFRGHIRUWKHZRUNHUV EHQHILWIXQG"

         $ ,ZRXOGDVVXPHVR
  $,ZRXOGDVVXPHVR

         42ND\,I\RXKDGWRFKHFNKRZFRXOG\RX

  ILQGWKDWRXW"

  $,FRXOGXVHWKHUHSRUWWKDW,PHQWLRQHG

  HDUOLHUEXWWKDWZRXOGPHDQORRNLQJDWHYHU\ERG\ V

 SD\FKHFNIRUTXLWHDIHZ\HDUV

        4$QGKDYLQJWRGRWKHPDWK\RXUVHOI"

 $,PHDQWKHGHGXFWLRQZRXOGEHYLVLEOHRQ

 WKDWUHSRUWSHUHPSOR\HHVRSRVVLEO\\HVXVLQJ

 XVLQJRQHRIWKHUHSRUWLQJIHDWXUHVDQGORVVDQG

 VKRZLQJDOOWKHGHGXFWLRQVSHUHPSOR\HH

        4,VWKHUHDZD\WRORRNDWDGHGXFWLRQ

 FRGHDQ\IHDWXUHVRILWRUVHWWLQJVRILWDQGVHH

 KRZLW VFKDQJHGRYHUWLPH"

 $, PQRWVXUH, PQRWVXUH,GRQ W

 WKLQNWKHUHLVEHFDXVHWKDW VQRWDWUDQVDFWLRQ

 ZLWKLQ/DZVRQWKDWZRXOGFUHDWHKLVWRULFDOUHFRUG

 VR,GRQ WWKLQNWKHUHLV

        46R\RXZRXOG\RXFRXOGSLFNDQHPSOR\HH

 DQGGULOOGRZQWRWKHLUKLVWRULFDOUHFRUGEXW\RX

 FDQ WGRWKHVDPHWKLQJIRUDGHGXFWLRQFRGH"




                                                                                                                ([KLELW
                                                                                                              3DJHRI
     Case 3:14-cv-01092-BR          Document 182-1            Filed 05/24/19         Page 63 of 194
                %DUEDUD.OXVHN)HEUXDU\15&)LOH3DJH

  &(57,),&$7(2)9,'(2*5$3+(5

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  ,WKHXQGHUVLJQHG-DPLH&DUOVRQDPDYLGHRJUDSKHU

  EHKDOIRIWKH1$(*(/,5(3257,1*&25325$7,21,GRKHUHE\

  FHUWLI\WKDW,KDYHDFFXUDWHO\PDGHWKHYLGHRUHFRUGLQJRI

  WKHGHSRVLWLRQRI%DUEDUD.OXVHNLQWKHDERYHFDSWLRQHG

  PDWWHURQWKHWKGD\RI)HEUXDU\WDNHQDWWKH

  ORFDWLRQRI%DOERD$YHQXH&RUSRUDWH+HDGTXDUWHUV&$

  FRQVLVWLQJRI'9' V 



 1RDOWHUDWLRQVDGGLWLRQVRUGHOHWLRQVZHUHPDGH

 WKHUHWR



 ,IXUWKHUFHUWLI\WKDW,DPQRWUHODWHGWRDQ\RIWKH

 SDUWLHVLQWKHDFWLRQDQGKDYHQRILQDQFLDOLQWHUHVWLQ

 RXWFRPHRIWKLVPDWWHU

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 -DPLH&DUOVRQ

 9LGHRJUDSKHU

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 'DWH

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                                                                                                               3DJHRI
     Case 3:14-cv-01092-BR         Document 182-1            Filed 05/24/19         Page 64 of 194
               %DUEDUD.OXVHN)HEUXDU\15&)LOH3DJH

  &(57,),&$7(

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  ,/RULH5K\QHWKHFHUWLILHG6KRUWKDQG5HSRUWHULQ

  DQGIRUWKH6WDWHRI&DOLIRUQLDGRKHUHE\FHUWLI\

 

  7+$7WKHIRUHJRLQJSURFHHGLQJVZHUHUHSRUWHGE\PH

  VWHQRJUDSKLFDOO\DQGODWHUWUDQVFULEHGXQGHUP\GLUHFWLRQ

  WKDWWKHIRUHJRLQJLVDWUXHUHFRUGRIWKHSURFHHGLQJV

  DWWKDWWLPH



 ,1:,71(66+(5(2),KDYHWUDQVFULEHGP\QDPHWKLV

 GD\RI)HEUXDU\

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 &651R

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                                                                                                             3DJHRI
Case 3:14-cv-01092-BR   Document 182-1   Filed 05/24/19   Page 65 of 194




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         1,&2/(*(66(/(75,&,$7(75$8/7
         DQG&+5,67,1$/8&+$8RQEHKDOI
         RIWKHPVHOYHVDQGDOORWKHUV
         VLPLODUO\VLWXDWHG

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         9V&LYLO1R
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         FRUSRUDWLRQRI'HODZDUH

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                   9,'(27$3(''(326,7,212)%$5%$5$./86(.
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                                                                           3DJHRI
     Case 3:14-cv-01092-BR            Document 182-1            Filed 05/24/19         Page 66 of 194
         %DUEDUD.OXVHN 9RO )HEUXDU\15&)LOH3DJH

  :RUNHUV %HQHILW)XQGSXUSRVHVZHMXVWDGGXSDOO

  RIHYHU\ERG\ VKRXUVDQGWKDW VWKHKRXUVWKDWDUH

  XVHG"

  $&RUUHFW

          4$OOULJKW7KDQN\RX

                   $QGWKHQZKDWGRZHKDYHKHUHDV([KLELW

  7KLVORRNVWREHVFUHHQVKRWVIURP/DZVRQ

         $ ,WLV
  $,WLV

          4  7HOOXVZKDWZH UHORRNLQJDW
           47HOOXVZKDWZH

         $ ,WLVDVFUHHQVKRWIURP/DZVRQ7KLVLV
 $,WLVDVFUHHQVKRWIURP/DZVRQ7KLVLV

 DVDPSOHKRZRIKRZRXUGHGXFWLRQVDUHVHWXS

 7KLVSDUWLFXODURQHVKRZVWKHGHGXFWLRQFDOOHG5

 ZKLFKLVIRU2UHJRQZRUNHUV FRPSHQVDWLRQHPSOR\HH

 SRUWLRQPHDQLQJ:RUNHUV %HQHILW)XQG

              ,WVKRZVVHYHUDOGLIIHUHQWGHWDLOVDERXW
 ,WVKRZVVHYHUDOGLIIHUHQWGHWDLOVDERXW

 WKHGHGXFWLRQ LQFOXGLQJKRZWKDWGHGXFWLRQZRXOG
   WKHGHGXFWLRQLQFOXGLQJKRZWKDWGHGXFWLRQZRXOG

 VKRZRQWKHHPSOR\HHSD\FKHFNKRZLVLWFDOFXODWHG

 DQGWKHUDWHWKDWLW VFDOFXODWHGDW7KHUDWHWKDW

 \RXVHHWKHUHXQGHUDPRXQWDQGSHUFHQWLVWKHUDWH

 WKDW,DGMXVWHG2QFH,IRXQGRXWDERXWWKHHUURU

 ,FKDQJHGWKDW UDWHWR
   ,FKDQJHGWKDWUDWHWR

         4  2ND\$QGDSSUR[LPDWHO\ZKHQZDVWKDW"
           42ND\$QGDSSUR[LPDWHO\ZKHQZDVWKDW"

         $ /DVW ZHHN)ULGD\,PLJKWEHPL[LQJ
 $/DVWZHHN)ULGD\,PLJKWEHPL[LQJ

 GD\VKHUH

         42ND\7KH35UHSRUWVWKDWZHUHFHLYHG




                                                                                                                   ([KLELW
                                                                                                                3DJHRI
     Case 3:14-cv-01092-BR            Document 182-1            Filed 05/24/19         Page 67 of 194
         %DUEDUD.OXVHN 9RO )HEUXDU\15&)LOH3DJH

  VHSDUDWHF\FOHKDGWREHGHWHUPLQHGHWFHWHUD

          42ND\6RWKDWGRHVQ WQHFHVVDULO\

  LQGLFDWHVRPHNLQGRIFDOHQGDUF\FOHRUKRZRIWHQ

  VRPHWKLQJJHWVGRQH7KRVHDUHMXVWGHVLJQDWLRQVRI

  LQZKLFKFLUFXPVWDQFHVLVWKLVSDUWLFXODUGHGXFWLRQ

  WDNHQRXW"

  $&RUUHFW

          4  $OOULJKW *RLQJWRWKHVHFRQGSDJHRI
           4$OOULJKW*RLQJWRWKHVHFRQGSDJHRI

  ([KLELWLWKDVVHOIDGMXVWWD[<:KDWGRHVWKDW

 PHDQ"

         $ 7KDW ZRXOGDJDLQEHLIDFKDQJHZRXOG
 $7KDWZRXOGDJDLQEHLIDFKDQJHZRXOG

 KDYHEHHQPDGH WRWKHUDWHWKLVWHOOV/DZVRQWR
   KDYHEHHQPDGHWRWKHUDWHWKLVWHOOV/DZVRQWR

 UHFDOFXODWHDQ\WKLQJWKDWFRXOGWKDWFRXOGUHVXOW

 LQDGLIIHUHQW DPRXQWEHFDXVHRIDFKDQJHWRKRZ
   LQDGLIIHUHQWDPRXQWEHFDXVHRIDFKDQJHWRKRZ

 GHGXFWLRQLVVHWXS

         4  ,VHH6RGRHVWKLVWHOO/DZVRQWKDWLI,
           4,VHH6RGRHVWKLVWHOO/DZVRQWKDWLI,

 PDNHDFKDQJHLQWKHUDWHLQWKLVPDVWHUHQWU\\RX

 QHHGWRSRSXODWHWKDWRXWWRHYHU\ERG\LQWKDW

 MXULVGLFWLRQ"

         $ &RUUHFW
 $&RUUHFW

         4$OOULJKW$QGWKHQWKHWKLUGDQGILQDO

 SDJHRI([KLELWKDVDQHIIHFWLYHGDWHRQWKHUH"

 $7KDW V-DQXDU\

         42ND\'RHVWKDWPHDQWKDWWKDW VZKHQ

 WKDWVWDUWHGZKHQWKLVGHGXFWLRQZDVILUVW




                                                                                                                   ([KLELW
                                                                                                                3DJHRI
     Case 3:14-cv-01092-BR            Document 182-1            Filed 05/24/19         Page 68 of 194
         %DUEDUD.OXVHN 9RO )HEUXDU\15&)LOH3DJH

  LPSOHPHQWHG"

  $7KDW VZKHQWKLVGHGXFWLRQZDVILUVWDGGHG

  WR/DZVRQ

         4$QGWKHDFFUXDODFFRXQWLVWKDWZHOO

  ,GRQ WNQRZ:KDWGRHVWKDWWHOOXVWKDWDFFUXDO

  DFFRXQWLQIRUPDWLRQ"

  $7KDWMXVWWHOOV, PVRUU\7KDWWHOOV

  RXUDFFRXQWLQJGHSDUWPHQWZKHUHWRUHFRUGWKRVH

  H[SHQVHV

        42ND\$QGKRZDERXWWKHZRUNHUV WKDW

 :&UDWHWDEOHZKDWGRHVWKDWPHDQ"

 $, PQRWVXUH,GLGQRWORRNLQGHWDLOLQ

 WKHUH

        4  2ND\,WKLQNZHVDLGZKHQZHZHUH
          42ND\,WKLQNZHVDLGZKHQZHZHUH

 ORRNLQJDW([KLELWWKH35WKDWLWGRHVQ W

 PDWWHUZKLFKFDWHJRU\SHRSOHIDOOLQWRWKH\DOOSD\

 WKHVDPH:RUNHUV %HQHILW)XQGUDWH

         $ 5LJKW
 $5LJKW

        4'R\RXWKLQNWKDWPLJKWEHZKDWWKDWKDV

 WRGRZLWKRU

 $,GRQ WWKLQNVR

        42ND\

 $1R

        42ND\

 $%HFDXVHWKHSD\WKHFDOFXODWLRQLVVHW




                                                                                                                   ([KLELW
                                                                                                                3DJHRI
     Case 3:14-cv-01092-BR            Document 182-1            Filed 05/24/19         Page 69 of 194
        %DUEDUD.OXVHN 9RO )HEUXDU\15&)LOH3DJH

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  EHKDOIRIWKH1$(*(/,5(3257,1*&25325$7,21,GRKHUHE\

  FHUWLI\WKDW,KDYHDFFXUDWHO\PDGHWKHYLGHRUHFRUGLQJRI

  WKHGHSRVLWLRQRI:HQG\6DQGHUOLQLQWKHDERYHFDSWLRQHG

  PDWWHURQWKHWKGD\RI)HEUXDU\WDNHQDWWKH

  ORFDWLRQRI%DOERD$YHQXH&RUSRUDWH+HDGTXDUWHUV

  'LHJR&$FRQVLVWLQJRI'9' V 

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 SDUWLHVLQWKHDFWLRQDQGKDYHQRILQDQFLDOLQWHUHVWLQ

 RXWFRPHRIWKLVPDWWHU

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  6WDWHRI&DOLIRUQLDGRKHUHE\FHUWLI\

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  7KDWWKHZLWQHVVLQWKHIRUHJRLQJGHSRVLWLRQZDVE\PH

  GXO\VZRUQWRWHVWLI\WRWKHWUXWKWKHZKROHWUXWKDQG

  QRWKLQJEXWWKHWUXWKLQWKHIRUHJRLQJFDXVHWKDWWKH

  GHSRVLWLRQZDVWDNHQE\PHLQPDFKLQHVKRUWKDQGDQGODWHU

 WUDQVFULEHGLQWRW\SHZULWLQJXQGHUP\GLUHFWLRQDQGWKDW

 WKHIRUHJRLQJFRQWDLQVDWUXHUHFRUGRIWKHWHVWLPRQ\RI

 ZLWQHVV'DWHGWKLVVWGD\RI0DUFKDW6DQ'LHJR

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     Case 3:14-cv-01092-BR        Document 182-1            Filed 05/24/19         Page 72 of 194
              :HQG\6DQGHUOLQ)HEUXDU\15&)LOH3DJH

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  WKDWWKHULJKWSHUFHQWDJHVDUHGHGXFWHGIURP

  SHRSOH VFKHFNVIRUSD\UROOWD[HV"

         $ :LWKLQ/DZVRQWKHUH V96,ZKLFKLVDQ
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  ZKLFKLVDPRGXOHZLWKLQ/DZVRQZKHUHHDFKVWDWHDQG

  ORFDOW\SHRIWD[LVFRQILJXUHGDQGWKDW VDSSOLHG

 IURPWKHV\VWHPWRHDFKRIWKHHPSOR\HHVDVDV

 WKH\DVSD\PHQWVDUHPDGH

        4  2ND\,VWKDWXSGDWHGDQQXDOO\"2UKRZ
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 GRHVWKDWZRUN"

         $ ,W VXSGDWHGPRUHRIWHQWKDQWKDW$V
 $,W V XSGDWHGPRUHRIWHQWKDQWKDW$V

 WKLQJVFKDQJH DQGDVZHJRLQWRQHZVWDWHVDQGQHZ
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 ORFDOLWLHVXSGDWHGDVUDWHVFKDQJHXQHPSOR\PHQW

 UDWHVZHSXWLQ

        4$QGKRZGR\RXNQRZZKHQWKHUDWHVFKDQJH"

 'R\RXUHFHLYHQRWLFHIURPWKHVWDWHVRU

 $:HDFWXDOO\JHWQRWLFHVIURP7DO[RXU

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 XQHPSOR\PHQWXSGDWHVRULVWKDWIRUHYHU\WKLQJ"




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     Case 3:14-cv-01092-BR        Document 182-1            Filed 05/24/19         Page 73 of 194
              :HQG\6DQGHUOLQ)HEUXDU\15&)LOH3DJH

  RXWDQRWLFHHYHU\\HDUWKDWVD\VIRUWKHIROORZLQJ

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  ZDQW\RXWRDSSO\WRHPSOR\HHVIRUZLWKKROGLQJ

  SXUSRVHVDQGE\ZLWKKROGLQJ,PHDQDQ\WKLQJ

  WKDW\RXWDNHRXWRIDQHPSOR\HH VFKHFNQRWMXVW

  LQFRPHWD[

  $8PKXP

         4:KHUHZRXOGWKDWJR"

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 LW V96,%XWWKHXQHPSOR\PHQWLVZKDW,
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 IDPLOLDUZLWK DQGZHJHWQRWLFHVRIUDWH
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          47KHSD\UROOWD[PDQDJHU"

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 ZLWKRXU,7SHUVRQZLWKDSSO\LQJSDWFKHVDQGKRZ96,

 ZRUNV

        4'RHVWKHPDLOURRPJX\MXVWNQRZDQ\WKLQJ

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              :HQG\6DQGHUOLQ)HEUXDU\15&)LOH3DJH

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          46RWKHSD\UROOWD[PDQDJHULVWKHRQHZKR

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 ZKHQZHVKRXOG UHFHLYHHDFKVWDWH$QGLIZH
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 KDYHQ WUHFHLYHGLWDQGWKDWVWDWHKDVJLYHQWKHP

 RXWWKHQVKH VSUDFWLFDOO\FDOOLQJDQGPDNLQJVXUH

 WKDWZHORFDWH LW
   WKDWZHORFDWHLW

        42ND\,VWKDWWUXHDOVRRIPXQLFLSDORU

 ORFDORUFRXQW\RUWUDQVLWGLVWULFW"$Q\WKLQJOHVV

 WKDQWKHVWDWHORFDOWD[HV

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        4LVLVWKDWDOVREHLQJWUDFNHGE\WKH

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  &UHZVSXUFKDVHVRURWKHUVKRHVSXUFKDVHVRURWKHU

  WKLQJVWKDWDUHQ WVSHFLILFDOO\IRUWD[HV"+RZ

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 SXUFKDVHRULV WKDWFDQFHOOHGRXWVRPHRWKHUZD\LQ
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  FHUWLI\WKDW,KDYHDFFXUDWHO\PDGHWKHYLGHRUHFRUGLQJRI

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  EHIRUHPHDWWKHWLPHDQGSODFHVHWIRUWKLQWKHFDSWLRQ

  KHUHLQWKDWDWWKHVDLGWLPHDQGSODFH,UHSRUWHGLQ

  VWHQRW\SHDOOWHVWLPRQ\DGGXFHGDQGRWKHURUDOSURFHHGLQJV

  KDGLQWKHIRUHJRLQJPDWWHUDQGWKDWWKHIRUHJRLQJ

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                                                                           3DJHRI
     Case 3:14-cv-01092-BR             Document 182-1            Filed 05/24/19         Page 79 of 194
       :HQG\6DQGHUOLQ 9RO )HEUXDU\15&)LOH3DJH

  DQGVKRHFUHGLWV

          4  2ND\6ROHW VWDNHWKRVHRQHDWDWLPH
           42ND\6ROHW

         $ 2ND\
  $2ND\

          4  :KHQ\RXVD\ZULWHRIIV
           4:KHQ\RXVD\ZULWHRIIV

         $ :KHQ LIDQHPSOR\HHOHDYHVWKHFRPSDQ\
         $
  $:KHQLIDQHPSOR\HHOHDYHVWKHFRPSDQ\

  DIWHUPDNLQJRQHSD\PHQWDQGWKH\GLGQ WSD\WKH

  RWKHUWKUHHWKHQZHDUHVWLOOOLDEOHWR6KRHVIRU

  &UHZV:HVWLOOSDLGLW7KDW VDORVV

          4  -XVWDORVVWRWKHFRPSDQ\"
           4-XVWDORVVWRWKHFRPSDQ\"

         $ <HV
         $
 $<HV

         4  1RZOHW VVD\WKDWDQHPSOR\HHZRUNVWZR
           41RZOHW

 GD\VDQGWKHQOHDYHV

         $ 0PKPP
 $0PKPP

         4  'RWKH\VWLOOKDYHDSD\PHQWGHGXFWHGIURP
           4'RWKH\VWLOOKDYHDSD\PHQWGHGXFWHGIURP

 WKHLUILQDOSD\FKHFN"

         $ 1RWDORWRIWLPHVZHGRQ WQHFHVVDULO\
 $1RWDORWRIWLPHVZHGRQ

 NQRZWKH\ UHWHUPLQDWHGXQWLODIWHUWKH\ YHJRQHVR

 LWGHSHQGV,IZH YHEHHQFXUUHQWO\ZHGRQRW

 EXWKLVWRULFDOO\LIZH YHNQRZQWKDWWKDWLVWKHLU

 ILQDOSD\FKHFNWKHQ\HV

         4  ,VLWMXVWRQHSD\PHQWWKDW VGHGXFWHGRU
           4,VLWMXVWRQHSD\PHQWWKDW

 WKHEDODQFH"

         $ 7KHEDODQFH
 $7KHEDODQFH

         4  2ND\6RLI\RX UHDZDUHWKDWDQHPSOR\HH
           42ND\6RLI\RX

 ZKR VWHUPLQDWLQJKDVDQXQSDLGEDODQFHWKHQWKH




                                                                                                                    ([KLELW
                                                                                                                  3DJHRI
     Case 3:14-cv-01092-BR             Document 182-1            Filed 05/24/19         Page 80 of 194
       :HQG\6DQGHUOLQ 9RO )HEUXDU\15&)LOH3DJH

  HQWLUHEDODQFHLVGHGXFWHGIURPWKHLUILQDO

  SD\FKHFN"

         $ <HV
  $<HV

          42ND\$QGWKHQVRWKHQ\RXVDLGWKH

  UHEDWHVDOVRJRLQWRWKLV7KDW VWKHSHUVKRH

  RUGHUHGWKURXJKSD\UROOGHGXFWLRQ"

  $7KHUHEDWHVDUHDOVRLQWKLVDFFRXQW\HV

          4$QGWKHQWKHVKRHFUHGLWVZKDWDUHWKRVH"

  $7KHUHLVRQFHD\HDUWHDPOHDGHUDQG

 DERYHJHWDFUHGLWWRRIIVHWWKHFRVWRIWKH

 VKRHV

         4$QGLVWKDWRQO\DSSOLHGWRVKRHV

 SXUFKDVHGRULVLWSHU

 $,W VWKURXJKSD\UROOGHGXFWVEHFDXVH

 WKRVHDUHWKHRQO\RQHVWKDWZH UHDZDUHRI

         42ND\6ROHW VVD\WKDWDWHDPOHDGHU

 JRHVD\HDUZLWKRXWEX\LQJDQ\VKRHV

 $8KKXK

         4,VVWLOODSSOLHGWRWKLVDFFRXQW"

 $1R

         42QO\LIWKH\SXUFKDVHVKRHV"

 $<HV

         4$OOULJKW$QGVRWKHVHZRXOGWKHQ

 ZRXOGEHDWRWDOWKHVHQXPEHUVWKDWZH UHORRNLQJ

 DWRQ([KLELWZRXOGEHDWRWDORIWKHZULWHRIIV




                                                                                                                   ([KLELW
                                                                                                                3DJHRI
     Case 3:14-cv-01092-BR             Document 182-1            Filed 05/24/19         Page 81 of 194
       :HQG\6DQGHUOLQ 9RO )HEUXDU\15&)LOH3DJH

  $<HV

          41HWRIZULWHRIIVUHEDWHVDQGVKRH

  FUHGLWV"

  $<HV

          4$OOULJKW

                    05678%%/(),(/'7KHUHLVDUHDVRQZK\,

  GLGQ WVWXG\DFFRXQWLQJ

  %<05(*$1

          4  $QGMXVWVRZH UHFOHDUWKDWUHEDWH
           4$QGMXVWVRZH

 WKDW VQHYHUUHIXQGHGRUDSSOLHGWRDQ\LQGLYLGXDO

 HPSOR\HHLVLW"

         $ 7KDW LVWUXH
 $7KDWLVWUXH

         4  ,W VFRUUHFWWKDWLW VQRW"
           4,W

         $ 7KDW LVFRUUHFWWKDWLW VQRW
 $7KDWLVFRUUHFWWKDWLW

         4  $OOULJKW6RHPSOR\HHVSD\WKHIXOO
           4$OOULJKW6RHPSOR\HHVSD\WKHIXOO

 SULFH-DFNLQWKH%R[SD\VWKHVKRHFRPSDQ\WKH

 IXOOSULFHDQGWKHQ-DFNLQWKH%R[UHFHLYHVD

 UHEDWHODWHUWKDW VDSSOLHGWRDGLIIHUHQWDFFRXQW"

         $ ,W VDSSOLHGDJDLQVWWKHZULWHRIIVDQG
 $,W V DSSOLHGDJDLQVWWKHZULWHRIIVDQG

 WKHFUHGLWV\HV

         42ND\,VWKHUHDQ\UHDVRQZK\ZHGRQ W

 KDYHZK\ZHGLGQ WEULQJDUHEDWHFKHFNRULV

 WKDWMXVW

 $<RXNQRZZHMXVWDVNHGODVWPLQXWHODVW

 QLJKWDQGWKLVLVWKHLWZDVSURYLGHGTXLFNO\




                                                                                                                    ([KLELW
                                                                                                                 3DJHRI
     Case 3:14-cv-01092-BR             Document 182-1            Filed 05/24/19         Page 82 of 194
       :HQG\6DQGHUOLQ 9RO )HEUXDU\15&)LOH3DJH

  3URWHFWLRQ"

  $2ND\,W VFKDQJHGUHFHQWO\<HV,

  EHOLHYHWKDWWREHWUXH

          42ND\7KDWZDVPHDQWWREHDTXHVWLRQ

  QRWDVWDWHPHQW

  $<HV

          4%XWWKDW VWKHJHQHUDODUHDWKDWKH VLQ"

  $<HV

          4$OOULJKW$QGWKHQ/LVD'HDULQJZKDW V

 KHUFXUUHQWSRVLWLRQ"

 $6KH VWKHSD\UROOUHSUHVHQWDWLYH

         4$QGZKDWLQIRUPDWLRQGLG/LVD'HDULQJ

 SURYLGHWR\RX"

 $6KHSURYLGHGWKLV

         47KDW V([KLELW"

 $<HV

         4  $QGZKDWLQIRUPDWLRQGLG0U-DPHVSURYLGH
           4$QGZKDWLQIRUPDWLRQGLG0U-DPHVSURYLGH

 WR\RX"

         $ +HLQGLFDWHGWKDWWKHUHZDVQRZULWWHQ
 $+HLQGLFDWHGWKDWWKHUHZDVQRZULWWHQ

 ZULWWHQDJUHHPHQWDVWRWKHUHEDWHV

         4  2ND\$QGGR\RXNQRZWKDWWREHWKH
           42ND\$QGGR\RXNQRZWKDWWREHWKH

 FDVHRU\RX UHUHO\LQJRQKLP"
                UH UHO\LQJRQKLP"

         $ ,DP UHO\LQJRQKLP,KDYHQRWVHHQDQ\
 $,DPUHO\LQJRQKLP,KDYHQRWVHHQDQ\

 ZULWWHQ

         4$QGGR\RXXQGHUVWDQGWKDWWREHWUXHIRU




                                                                                                                   ([KLELW
                                                                                                                3DJHRI
     Case 3:14-cv-01092-BR             Document 182-1            Filed 05/24/19         Page 83 of 194
       :HQG\6DQGHUOLQ 9RO )HEUXDU\15&)LOH3DJH

          42ND\$QG,XQGHUVWDQG0U3DUNHUPDGH

  DEULHIVWDWHPHQWEHIRUHZHZHQWRQWKHUHFRUGEXW

  MXVWVRLW VRQWKHUHFRUG\RX UHEHLQJSURGXFHG

  WRGD\DV-DFNLQWKH%R[ VUHSUHVHQWDWLYHWRVSHDN

  RQWKHWUDFNLQJRIWKHVKRHUHEDWHWKURXJKWKH

  DFFRXQWLQJV\VWHP"

  $<HV

          42ND\:H YHDOUHDG\VSRNHQZLWK\RX

  EHIRUHDERXW\RXURZQSHUVRQDONQRZOHGJHEXWWRGD\

 \RX UHKHUHRQEHKDOIRI-DFNLQWKH%R["

 $<HV

         4  2ND\7KH UHEDWHWKHUHEDWHSHU
           42ND\7KHUHEDWHWKHUHEDWHSHU

 VKRHSHUSDLURIVKRHVSXUFKDVHGKDVWKDWEHHQWKH

 VDPHVLQFHZHOOKRZORQJKDVWKDWEHHQLQSODFH"

         $ , PQRWDZDUHRIDQ\FKDQJHV
 $,

         4  2ND\
           42ND\

         $ WRWKDW
 $WRWKDW

         4  $QG,FRXOGQ WWHOOEHIRUHIURPP\QRWHV
           4$QG,FRXOGQ

 ,WKLQN\RXVDLGLVLWFXUUHQWO\WKHSROLF\WKDW

          UHDZDUHDQHPSOR\HHLVJRLQJWREH
 LI\RX UHDZDUH DQHPSOR\HHLVJRLQJWREH

 WHUPLQDWHGDQGWKH\KDYHDEDODQFHIURPDVKRH

 SXUFKDVHWKDWWKDWIXOOEDODQFHLVGHGXFWHGIURP

 WKHLUILQDOSD\FKHFN"

         $ ,W VFXUUHQWO\WKHSROLF\WRRQO\GRRQH
 $,W V FXUUHQWO\WKHSROLF\WRRQO\GRRQH

 SD\PHQW




                                                                                                                   ([KLELW
                                                                                                                3DJHRI
     Case 3:14-cv-01092-BR             Document 182-1            Filed 05/24/19         Page 84 of 194
       :HQG\6DQGHUOLQ 9RO )HEUXDU\15&)LOH3DJH

          4  2ND\$QGKRZORQJKDVWKDWEHHQWKH
           42ND\$QGKRZORQJKDVWKDWEHHQWKH

  SROLF\"

         $ $ERXWDZHHN
  $$ERXWDZHHN

          4  2ND\$OO ULJKW$QGZKDWEHIRUH
           42ND\$OOULJKW$QGZKDWEHIRUH

  WKDWZKDWZDVWKHSROLF\"

         $ :HZHUHGHGXFWLQJDQ\UHPDLQLQJEDODQFH
  $:HZHUHGHGXFWLQJDQ\UHPDLQLQJEDODQFH

          4  2KRND\ 3HUKDSV,PLVXQGHUVWRRG6R
           42KRND\3HUKDSV,PLVXQGHUVWRRG6R

         $ 2ND\
  $2ND\

          4  DZHHNDJRWKHSROLF\EHFDPHWRRQO\
           4DZHHNDJRWKHSROLF\EHFDPHWRRQO\

 GHGXFWRQHRIWKHIRXUSD\PHQWVIURPWKHILQDO

 FKHFN,VWKDW ZKDW\RX UH
   FKHFN,VWKDWZKDW\RX

         $ 5LJKW
 $5LJKW

         4  2ND\
           42ND\

         $ 6RLIDIWHURQHSD\PHQWWKHUHZHUHWKUHH
 $6RLIDIWHURQHSD\PHQWWKHUHZHUHWKUHH

 OHIWZHZHUHWDNLQJWKHWKUHHRXWIURPWKHLUILQDO

 SD\FKHFN

         4  %HIRUHDZHHNDJR"
           4%HIRUHDZHHNDJR"

         $ <HV
 $<HV

         4  $QGZKDWLVLWQRZ"
           4$QGZKDWLVLWQRZ"

         $ :HDUHWDNLQJRQO\RQH
 $:HDUHWDNLQJRQO\RQH

         42QO\RQH6ROHW VVD\WKDWWKH\ZRUNHG

 UHFHLYHGRQHSD\FKHFNLQWKHFRXUVHRIWKHLUZRUN

 DQGWKHQZHUHWHUPLQDWHG7KH\ZLOOKDYHRQO\PDGH

 WZRIXOOSD\PHQWVLQFOXGLQJWKHRQHRIIWKDWRWKHU

 ILQDOFKHFN"




                                                                                                                   ([KLELW
                                                                                                                3DJHRI
     Case 3:14-cv-01092-BR             Document 182-1            Filed 05/24/19         Page 85 of 194
       :HQG\6DQGHUOLQ 9RO )HEUXDU\15&)LOH3DJH

  DUHEDWHHYHU\WLPHVRPHERG\EX\VVKRHV"

                    05(*$1<HV

                    053$5.(52ND\

                    7+(:,71(66,DVVXPHVR7KHZKDW

  \RX UHDVNLQJDERXWZKHWKHURUQRWWKH\ZHUH

  WHUPLQDWHG

  %<05(*$1

          45LJKW

  $ZH UHSD\LQJWKHUHVWRIWKRVHVR

 6KRHVIRU&UHZVZRXOGQ WKDYHNQRZOHGJH

         4,VHH6RWKRVHDUHLQGHSHQGHQWIURPHDFK

 RWKHU"

 $<HV

         4  :KHWKHUVRPHRQHSD\VDOORIWKHVKRH
           4:KHWKHUVRPHRQHSD\VDOORIWKHVKRH

 SD\PHQWVRUQRWWKHUHEDWHLVLQGHSHQGHQWRI

 WKDW"

         $ <HV
 $<HV

                   05(*$12ND\7KDW VZKDW,ZDQWHGWR

 NQRZ0U3DUNHUKDVWKHDELOLW\WRDVN\RXDQ\

 TXHVWLRQVQRZEXWRWKHUWKDQWKDWWKRVHZHUHDOO

 RIP\TXHVWLRQV7KDQN\RX

                   7+(:,71(662ND\

                   053$5.(52ND\,KDYHQRTXHVWLRQV

 7KDQN\RXYHU\PXFK

                   05(*$17KDQNVIRUFRPLQJLQ




                                                                                                                    ([KLELW
                                                                                                                 3DJHRI
     Case 3:14-cv-01092-BR             Document 182-1            Filed 05/24/19         Page 86 of 194
       :HQG\6DQGHUOLQ 9RO )HEUXDU\15&)LOH3DJH

  &(57,),&$7(2)9,'(2*5$3+(5

 

  ,WKHXQGHUVLJQHG-DPLH&DUOVRQDPDYLGHRJUDSKHU

  EHKDOIRIWKH1$(*(/,5(3257,1*&25325$7,21,GRKHUHE\

  FHUWLI\WKDW,KDYHDFFXUDWHO\PDGHWKHYLGHRUHFRUGLQJRI

  WKHGHSRVLWLRQRI:HQG\6DQGHUOLQLQWKHDERYHFDSWLRQHG

  PDWWHURQWKHWKGD\RI)HEUXDU\WDNHQDWWKH

  ORFDWLRQRI%DOERD$YHQXH&RUSRUDWH+HDGTXDUWHUV

  'LHJR&$FRQVLVWLQJRI'9' V 



 1RDOWHUDWLRQVDGGLWLRQVRUGHOHWLRQVZHUHPDGH

 WKHUHWR



 ,IXUWKHUFHUWLI\WKDW,DPQRWUHODWHGWRDQ\RIWKH

 SDUWLHVLQWKHDFWLRQDQGKDYHQRILQDQFLDOLQWHUHVWLQ

 RXWFRPHRIWKLVPDWWHU

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 -DPLH&DUOVRQ

 9LGHRJUDSKHU

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 

 'DWH

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                                                                                                                   ([KLELW
                                                                                                                3DJHRI
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       :HQG\6DQGHUOLQ 9RO )HEUXDU\15&)LOH3DJH

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07133              8278              11/5/2004    5449277 System     495.09                                                               WCER        33.93
07133              8278              11/19/2004   5481850 System     499.51 REG        74.46     551.00 FED TAX           WC-OR       1.34 SOCR TAX   34.16   551.00
07133              8278              11/19/2004   5481850 System     499.51                            SOC TAX    34.16                   MEDR TAX     7.99   551.00
07133              8278              11/19/2004   5481850 System     499.51                            MED TAX     7.99                   FUTA TAX
07133              8278              11/19/2004   5481850 System     499.51                            OR WH       8.00                   OR SUI      14.33   551.00
07133              8278              11/19/2004   5481850 System     499.51                                                               WCER        34.25
07133              8278              12/3/2004    5513983 System     482.71 OT 1          3.02    33.52 FED TAX           WC-OR       1.27 SOCR TAX   32.94   531.24
07133              8278              12/3/2004    5513983 System     482.71 REG        67.26     497.72 SOC TAX   32.94                   MEDR TAX     7.70   531.24
07133              8278              12/3/2004    5513983 System     482.71                            MED TAX     7.70                   FUTA TAX
07133              8278              12/3/2004    5513983 System     482.71                            OR WH       6.62                   OR SUI      13.81   531.24
07133              8278              12/3/2004    5513983 System     482.71                                                               WCER        32.33
07133              8278              12/17/2004   5546377 System     441.51 REG        65.25     482.85 FED TAX           WC-OR       1.17 SOCR TAX   29.94   482.85
07133              8278              12/17/2004   5546377 System     441.51                            SOC TAX    29.94                   MEDR TAX     7.00   482.85
07133              8278              12/17/2004   5546377 System     441.51                            MED TAX     7.00                   FUTA TAX
07133              8278              12/17/2004   5546377 System     441.51                            OR WH       3.23                   OR SUI      12.55   482.85
07133              8278              12/17/2004   5546377 System     441.51                                                               WCER        30.02
07133              8278              12/31/2004   5578804 System     508.32 REG        75.86     561.36 FED TAX           WC-OR       1.37 SOCR TAX   34.80   561.36
07133              8278              12/31/2004   5578804 System     508.32                            SOC TAX    34.80                   MEDR TAX     8.14   561.36
07133              8278              12/31/2004   5578804 System     508.32                            MED TAX     8.14                   FUTA TAX
07133              8278              12/31/2004   5578804 System     508.32                            OR WH       8.73                   OR SUI      14.60   561.36
07133              8278              12/31/2004   5578804 System     508.32                                                               WCER        34.90
07139              9813              1/9/2004     4712183 System     398.46 OT 1          4.00    42.60 FED TAX   19.88 WC-OR         1.25 SOCR TAX   31.40   506.51
07139              9813              1/9/2004     4712183 System     398.46 REG        65.34     463.91 SOC TAX   31.40 SFC          11.37 MEDR TAX    7.34   506.51
07139              9813              1/9/2004     4712183 System     398.46                            MED TAX     7.34                   FUTA TAX     4.05   506.51
07139              9813              1/9/2004     4712183 System     398.46                            OR WH      36.81                   OR SUI      13.17   506.51
07139              9813              1/9/2004     4712183 System     398.46                                                               WCER        31.90
07139              9813              1/23/2004    4747109 System     394.53 REG        70.60     501.26 FED TAX   19.36 WC-OR         1.27 SOCR TAX   31.08   501.26
07139              9813              1/23/2004    4747109 System     394.53                            SOC TAX    31.08 SFC          11.37 MEDR TAX    7.27   501.26
07139              9813              1/23/2004    4747109 System     394.53                            MED TAX     7.27                   FUTA TAX     4.01   501.26
07139              9813              1/23/2004    4747109 System     394.53                            OR WH      36.38                   OR SUI      13.03   501.26
07139              9813              1/23/2004    4747109 System     394.53                                                               WCER        32.48
07139              9813              2/6/2004     4781232 System     410.20 REG        71.42     507.08 FED TAX   19.94 WC-OR         1.29 SOCR TAX   31.44   507.08
07139              9813              2/6/2004     4781232 System     410.20                            SOC TAX    31.44                   MEDR TAX     7.36   507.08
07139              9813              2/6/2004     4781232 System     410.20                            MED TAX     7.36                   FUTA TAX     4.06   507.08
07139              9813              2/6/2004     4781232 System     410.20                            OR WH      36.85                   OR SUI      13.18   507.08
07139              9813              2/6/2004     4781232 System     410.20                                                               WCER        32.85
07139              9813              2/20/2004    4814805 System     614.42 OT 1          0.19     2.02 FED TAX   47.46 WC-OR         1.44 SOCR TAX   48.50   782.31
07139              9813              2/20/2004    4814805 System     614.42 REG        79.90     567.29 SOC TAX   48.50                   MEDR TAX    11.34   782.31
07139              9813              2/20/2004    4814805 System     614.42 VAC        30.00     213.00 MED TAX   11.34                   FUTA TAX     6.26   782.31
07139              9813              2/20/2004    4814805 System     614.42                            OR WH      59.15                   OR SUI      20.34   782.31
07139              9813              2/20/2004    4814805 System     614.42                                                               WCER        50.64
07139              9813              3/5/2004     4848945 System     443.89 REG        77.83     552.59 FED TAX   24.49 WC-OR         1.40 SOCR TAX   34.26   552.59
07139              9813              3/5/2004     4848945 System     443.89                            SOC TAX    34.26                   MEDR TAX     8.01   552.59
07139              9813              3/5/2004     4848945 System     443.89                            MED TAX     8.01                   FUTA TAX     4.42   552.59
07139              9813              3/5/2004     4848945 System     443.89                            OR WH      40.54                   OR SUI      14.37   552.59
07139              9813              3/5/2004     4848945 System     443.89                                                               WCER        35.80
07139              9813              3/19/2004    4882573 System     422.45 REG        73.75     523.63 FED TAX   21.59 WC-OR         1.33 SOCR TAX   32.47   523.63
07139              9813              3/19/2004    4882573 System     422.45                            SOC TAX    32.47                   MEDR TAX     7.59   523.63
07139              9813              3/19/2004    4882573 System     422.45                            MED TAX     7.59                   FUTA TAX     4.19   523.63
07139              9813              3/19/2004    4882573 System     422.45                            OR WH      38.20                   OR SUI      13.61   523.63
07139              9813              3/19/2004    4882573 System     422.45                                                               WCER        33.93
07139              9813              4/2/2004     4916418 System     486.09 OT 1          4.57    48.67 FED TAX   30.19 WC-OR         1.50 SOCR TAX   37.79   609.57
07139              9813              4/2/2004     4916418 System     486.09 REG        79.00     560.90 SOC TAX   37.79                   MEDR TAX     8.84   609.57
07139              9813              4/2/2004     4916418 System     486.09                            MED TAX     8.84                   FUTA TAX     4.88   609.57
07139              9813              4/2/2004     4916418 System     486.09                            OR WH      45.16                   OR SUI      15.85   609.57
07139              9813              4/2/2004     4916418 System     486.09                                                               WCER        38.44
07139              9813              4/16/2004    4950436 System     412.58 REG        71.87     510.28 FED TAX   20.26 WC-OR         1.29 SOCR TAX   31.64   510.28
07139              9813              4/16/2004    4950436 System     412.58                            SOC TAX    31.64                   MEDR TAX     7.40   510.28
07139              9813              4/16/2004    4950436 System     412.58                            MED TAX     7.40                   FUTA TAX     4.08   510.28
07139              9813              4/16/2004    4950436 System     412.58                            OR WH      37.11                   OR SUI      13.27   510.28
07139              9813              4/16/2004    4950436 System     412.58                                                               WCER        33.06
07139              9813              4/30/2004    4984576 System     400.49 REG        69.57     493.95 FED TAX   18.63 WC-OR         1.25 SOCR TAX   30.63   493.95
07139              9813              4/30/2004    4984576 System     400.49                            SOC TAX    30.63                   MEDR TAX     7.16   493.95
07139              9813              4/30/2004    4984576 System     400.49                            MED TAX     7.16                   FUTA TAX     3.95   493.95
07139              9813              4/30/2004    4984576 System     400.49                            OR WH      35.79                   OR SUI      12.84   493.95
07139              9813              4/30/2004    4984576 System     400.49                                                               WCER        32.00
07139              9813              5/14/2004    5018690 System     425.01 REG        74.24     527.10 FED TAX   21.94 WC-OR         1.34 SOCR TAX   32.68   527.10
07139              9813              5/14/2004    5018690 System     425.01                            SOC TAX    32.68                   MEDR TAX     7.65   527.10
07139              9813              5/14/2004    5018690 System     425.01                            MED TAX     7.65                   FUTA TAX     4.22   527.10
07139              9813              5/14/2004    5018690 System     425.01                            OR WH      38.48                   OR SUI      13.70   527.10
07139              9813              5/14/2004    5018690 System     425.01                                                               WCER        34.15
07139              9813              5/28/2004    5053179 System     432.87 REG        75.73     537.68 FED TAX   23.00 WC-OR         1.36 SOCR TAX   33.33   537.68
07139              9813              5/28/2004    5053179 System     432.87                            SOC TAX    33.33                   MEDR TAX     7.79   537.68
07139              9813              5/28/2004    5053179 System     432.87                            MED TAX     7.79                   FUTA TAX     4.30   537.68
07139              9813              5/28/2004    5053179 System     432.87                            OR WH      39.33                   OR SUI      13.98   537.68
07139              9813              5/28/2004    5053179 System     432.87                                                               WCER        34.84
07139              9813              6/11/2004    5087028 System     475.76 REG        70.76     516.55 FED TAX           WC-OR       1.27 SOCR TAX   32.03   516.55
07139              9813              6/11/2004    5087028 System     475.76                            SOC TAX    32.03                   MEDR TAX     7.49   516.55
07139              9813              6/11/2004    5087028 System     475.76                            MED TAX     7.49                   FUTA TAX     4.13   516.55
07139              9813              6/11/2004    5087028 System     475.76                            OR WH                              OR SUI      13.43   516.55
07139              9813              6/11/2004    5087028 System     475.76                                                               WCER        32.55
07139              9813              6/25/2004    5120650 System     492.14 REG        74.20     541.66 FED TAX           WC-OR       1.34 SOCR TAX   33.58   541.66
07139              9813              6/25/2004    5120650 System     492.14                            SOC TAX    33.58 SFC           6.74 MEDR TAX    7.86   541.66
07139              9813              6/25/2004    5120650 System     492.14                            MED TAX     7.86                   FUTA TAX     3.45   431.49
07139              9813              6/25/2004    5120650 System     492.14                            OR WH                              OR SUI      14.08   541.66
07139              9813              6/25/2004    5120650 System     492.14                                                               WCER        34.13
07139              9813              7/9/2004     5153922 System     480.59 REG        72.48     529.10 FED TAX           WC-OR       1.30 SOCR TAX   32.80   529.10
07139              9813              7/9/2004     5153922 System     480.59                            SOC TAX    32.80 SFC           6.74 MEDR TAX    7.67   529.10
07139              9813              7/9/2004     5153922 System     480.59                            MED TAX     7.67                   FUTA TAX
07139              9813              7/9/2004     5153922 System     480.59                            OR WH                              OR SUI      13.76   529.10
07139              9813              7/9/2004     5153922 System     480.59                                                               WCER        33.34
07139              9813              7/23/2004    5187071 System     455.10 REG        68.69     501.44 FED TAX           WC-OR       1.24 SOCR TAX   31.09   501.44
07139              9813              7/23/2004    5187071 System     455.10                            SOC TAX    31.09 SFC           6.74 MEDR TAX    7.27   501.44
07139              9813              7/23/2004    5187071 System     455.10                            MED TAX     7.27                   FUTA TAX
07139              9813              7/23/2004    5187071 System     455.10                            OR WH                              OR SUI      13.04   501.44
07139              9813              7/23/2004    5187071 System     455.10                                                               WCER        31.60
07139              9813              8/6/2004     5220050 System     468.62 REG        70.70     516.11 FED TAX           WC-OR       1.27 SOCR TAX   32.00   516.11
07139              9813              8/6/2004     5220050 System     468.62                            SOC TAX    32.00 SFC           6.74 MEDR TAX    7.48   516.11




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          9V&DVH1R&967
          -$&.,17+(%2;
          'HIHQGDQW
          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




                           '(326,7,212)'211$%$6+$0
          7$.(1,1%(+$/)2)7+(3/$,17,))
          021'$<-$18$5<




                                                                             ([KLELW
                                                                            3DJHRI
     Case 3:14-cv-01092-BR       Document 182-1            Filed 05/24/19         Page 134 of 194
                'RQQD%DVKDP-DQXDU\15&)LOH3DJH

  $7KH\GRWKHKLULQJ

         4  2ND\$QGGRWKH\DOVRGHFLGHZKDWOHYHO
          42ND\$QGGRWKH\DOVRGHFLGHZKDWOHYHO

  ZKDWSD\OHYHOWKDWSHUVRQZLOOVWDUWDW"
   ZKDWSD\OHYHOWKDWSHUVRQZLOOVWDUWDW"

         $ $Q\WKLQJDERYHPLQLPXPKDVWRKDVWRJR
  $$Q\WKLQJDERYHPLQLPXPKDVWRKDVWRJR

  WKURXJKWKHDUHDFRDFK

         4  6RHYHU\WKHGHIDXOWLVHYHU\ERG\
          46RHYHU\WKHGHIDXOWLVHYHU\ERG\

  VWDUWVDWPLQLPXPZDJHDQGWKHQLI\RXZDQWWRVWDUW

   WKHPKLJKHU\RX
      P             KDYHWRJHWSHUPLVVLRQIURPWKHDUHD
  WKHPKLJKHU\RXKDYHWRJHWSHUPLVVLRQIURPWKHDUHD

  FRDFK"

         $ &RUUHFW
 $&RUUHFW

        4  2ND\
          42ND\

         $ $QGLIWKHDUHDFRDFKLVQRWDYDLODEOH
 $$QGLIWKHDUHDFRDFKLVQRWDYDLODEOH

 WKHQWKH\ZRXOGFDOOWKHWKHRIILFHDQGWDONWR

 +5

          :DVWKDWFRPPRQ"
          4
          4:DVWKDWFRPPRQ"

         $ 7RFDOO+5"
 $7RFDOO+5"

        4  :HOOWRWR VWDUWVRPHRQHDWKLJKHU
          4:HOOWRWRVWDUWVRPHRQHDWKLJKHU

 WKDQPLQLPXPZDJH"

         $ 1R
 $1R

        4:HUHWKHUHDQ\OHYHOVRIHPSOR\HHEHVLGHV

 MXVWFUHZOHYHO"

 $<HV

        4$QGZKDWZDVWKHQH[WOHYHOXS"

 $7HDPOHDGHU

        4:DVWKDWFRQVLGHUHGDPDQDJHUSRVLWLRQ"




                                                                                                              ([KLELW
                                                                                                             3DJHRI
     Case 3:14-cv-01092-BR       Document 182-1            Filed 05/24/19         Page 135 of 194
                'RQQD%DVKDP-DQXDU\15&)LOH3DJH

  KDVJRWDSDLGOXQFK

         4,VWKDWVRPHWKLQJWKDWWKHPDQDJHUKDVWR

  WHOOSD\UROORU

  $1R

         4SD\UROOMXVWILJXUHVWKDWRXWEDVHGRQ

  ZKDWWKHUXOHVDUHLQWKHFRPSXWHU"

  $:HQHYHUZURWHDQ\WKLQJVR,, P

  WKH\KDGWRNQRZ

         4  :KHQ\RXILUVWVWDUWHGDW-DFN,Q7KH%R[
          4:KHQ\RXILUVWVWDUWHGDW-DFN,Q7KH%R[

 ZDVWKHUHDQ\UHTXLUHPHQWWKDWHPSOR\HHVZHDUD

 FHUWDLQEUDQGRIVKRHV"

         $ 1RWLQWKHYHU\EHJLQQLQJ,WZDVMXVW
 $1RWLQWKHYHU\EHJLQQLQJ,WZDVMXVW

 VOLSUHVLVWDQW

        4  $QGZKHQGLGWKDWFKDQJH"
          4$QGZKHQGLGWKDWFKDQJH"

         $ ([DFWWLPHIUDPH,GRQ WUHPHPEHUZKDWLW
 $([DFWWLPHIUDPH,GRQ

 LWGLGFKDQJH

        4  $QGZKDWGLGLWFKDQJHWR"
          4$QGZKDWGLGLWFKDQJHWR"

         $ 6KRHV)RU&UHZV
 $6KRHV)RU&UHZV

        4  7KH\ZHUHUHTXLUHGWRZHDUDVSHFLILF
          47KH\ZHUHUHTXLUHGWRZHDUDVSHFLILF

 EUDQGRIVKRHV"

         $ &RUUHFW
 $&RUUHFW

        4  6KRHV)RU&UHZVLVWKHFRPSDQ\WKDWPDNHV
          46KRHV)RU&UHZVLVWKHFRPSDQ\WKDWPDNHV

 WKDWEUDQGRIVKRHV"

         $ &RUUHFW
 $&RUUHFW

        4:KDWZDV\RXUSRVLWLRQDWWKDWWLPHWKDW




                                                                                                              ([KLELW
                                                                                                             3DJHRI
     Case 3:14-cv-01092-BR       Document 182-1            Filed 05/24/19         Page 136 of 194
                'RQQD%DVKDP-DQXDU\15&)LOH3DJH

  WKDWFKDQJHKDSSHQHG"

  $+DGWREHDUHDFRDFKEHFDXVH,ZDVDUHD

  FRDFKDIWHU

         42ND\6RLWZDVDIWHUWKDWWKDW

  KDSSHQHG"

         $ ,WKLQNVR,WFRXOGKDYHEHHQLQ 
  $,WKLQNVR,WFRXOGKDYHEHHQLQ

  EXW,DOZD\VZRUH6KRHV)RU&UHZV,\RXNQRZ,

  MXVWUHPHPEHUWKDWLWZHQWIURPVOLSUHVLVWDQWWR

  6KRHV)RU&UHZV

        4  $QGKRZGLGFRUSRUDWHOHW\RXNQRZWKDW
          4$QGKRZGLGFRUSRUDWHOHW\RXNQRZWKDW

 ZDVJRLQJWREHWKH FKDQJH"
   ZDVJRLQJWREHWKHFKDQJH"

         $ 2XUUHJLRQDOYLFHSUHVLGHQWWROGXV
 $2XUUHJLRQDOYLFHSUHVLGHQWWROGXV

        4  :DVWKHUHDPHHWLQJRUVRPHWKLQJ"
          4:DVWKHUHDPHHWLQJRUVRPHWKLQJ"

         $ :HKDGDUHJLRQPHHWLQJ
 $:HKDGDUHJLRQPHHWLQJ

        4'RDUHWKRVHUHJXODURUZDVWKLVFDOOHG

 MXVWIRUWKDWUHDVRQ"

 $:HKDYHWKHPHYHU\PRQWK

        4(YHU\PRQWKWKHDUHDFRDFKHVPHHWZLWKWKH

 UHJLRQDOYLFHSUHVLGHQW"

 $8KKXK

        4,VWKDWOLYHRURYHUWKHSKRQH"

 $/LYH

        4:KHUHZKHUHGLGWKDWPHHWLQJWDNH

 SODFH"

 $$WWKH3RUWODQGRIILFH




                                                                                                             ([KLELW
                                                                                                            3DJHRI
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                'RQQD%DVKDP-DQXDU\15&)LOH3DJH

           4:KHUHLVWKDWLQ3RUWODQG"

  $-XVWRQHXVHGWREHRQWKH\KDG

  WKH\KDGWKH\KDGWKUHHGLIIHUHQWRIILFHV7KH\

  KDG/DNH2VZHJR7KH\KDGWKHRWKHUWZRZHUHLQ

  3RUWODQG

           4  $QGZKDWGLGWKHYLFHSUHVLGHQWWHOO\RX
            4$QGZKDWGLGWKHYLFHSUHVLGHQWWHOO\RX

  DERXWWKDWWUDQVLWLRQ"

         $ 7KDWWKHFRPSDQ\ZDVJRLQJZLWK6KRHV)RU
  $7KDWWKHFRPSDQ\ZDVJRLQJZLWK6KRHV)RU

  &UHZVDVWKHRIILFLDOVKRH

          4$QGGLGKHVD\ZK\"

 $2KJHHZK\"<HDK,GRQ WUHPHPEHUWKH

 H[DFWYHUELDJH-XVWWKDWWKDWZDVWKHGHFLVLRQ

 PDGH

          4:DVZDVWKHUHDSURJUDPDWWKH

 EHJLQQLQJZKHUHHPSOR\HHVKDGWREX\WKRVHVKRHV

 WKHPVHOYHVRUZHUHWKRVHHYHUSURYLGHGE\WKH

 FRPSDQ\"

 $:HDOZD\VERXJKWRXURZQVKRHV

          4$QGZDVWKHUHDSD\UROOGHGXFWLRQSURJUDP

 LQWKHEHJLQQLQJRUZDVWKDW

 $1R7KH\KDGWKDW7KHUHZDVDSD\UROO

 GHGXFWLRQSODQ

          4:KHUHSHRSOHZRXOGFKRRVHZKDWVKRHVWKH\

 ZDQWHGDQGWKHQWKDWZRXOGEHSDLGIRURXWRIWKHLU

 SD\FKHFN"




                                                                                                              ([KLELW
                                                                                                             3DJHRI
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                'RQQD%DVKDP-DQXDU\15&)LOH3DJH

  WKH\JRWDGLVFRXQWRQWKHLUVKRHV

           4$QGLVWKHUHVKLSSLQJDVVRFLDWHGZLWK

  WKDW"

  $,EHOLHYHVR, PQRWH[DFWO\VXUH

           4:DVZDVWKDWSDLGE\WKHHPSOR\HHDV

  ZHOO"

  $,WZDVDOOLQWKHSULFHRIWKHVKRHV

           42ND\$QGGLGWKDWDOOFRPHRXWRIRQH

  SD\FKHFN"

 $7KH\KDGDFKRLFHRIRQHFKHFNRUWZR

 FKHFNV,EHOLHYHLIWKH\ERXJKWUHDOH[SHQVLYH

 VKRHVWKH\FRXOGPD\EHGRDWKLUG, PQRWVXUHRQ

 WKDW

          4  $QGZKRZRXOGFKHFNWRPDNHVXUHWKDWDOO
            4$QGZKRZRXOGFKHFNWRPDNHVXUHWKDWDOO

 WKHHPSOR\HHVZRUH6KRHV)RU&UHZV"

         $ 7KHPDQDJHU
 $7KHPDQDJHU

          4,VWKDWSDUWRIWKHPDQDJHU VGXWLHVWR

 PDNHVXUHWKDWHYHU\ERG\

 $$QGZHNHSWZHKDGZHOOZHKDGVKRH

 JXDUGVWRRWKDWLIVRPHRQHGLGQ WKDYHWKHPRQKDG

 6KRHV)RU&UHZVOLNHWKH\WKH\FRXOGQ WWKH\

 GLGQ W\RXNQRZZKHQWKH\ UHILUVWVWDUWLQJWKH\

 GRQ WKDYHWKHRSWLRQVRZHJDYHWKHPVKRHJXDUGVWR

 ZHDU

          4$QGWKRVHFRXOGEHVOLSSHGRQRYHUUHJXODU




                                                                                                             ([KLELW
                                                                                                            3DJHRI
     Case 3:14-cv-01092-BR       Document 182-1            Filed 05/24/19         Page 139 of 194
                'RQQD%DVKDP-DQXDU\15&)LOH3DJH

  VKRHV"

  $&RUUHFW

         4  :HUHWKH\WROGWKDWHYHQWXDOO\WKH\KDYH
          4:HUHWKH\WROGWKDWHYHQWXDOO\WKH\KDYH

  WREX\WKH6KRHV)RU&UHZV"

         $ <HDK6RWKDWZKHQWKHQH[WQHZSHUVRQ
  $<HDK6RWKDWZKHQWKHQH[WQHZSHUVRQ

  ZDVKLUHGWKH\FRXOGKDYHWKHJXDUGV

         4  ,VHH6R WKH\FDQ WMXVWZHDUWKHVKRH
          4,VHH6RWKH\FDQ

  JXDUGVIRUHYHU"

         $ 7KH\ UHQRWVXSSRVHGWREXWLILI\RX
  $7KH\

 KLUHGLIWKH\KLUHGVRPHERG\WKDWZDVUHDOO\

 FRXOGQ WGRLWWKH\ZRXOGOHWWKHPZHDUWKHPXQWLO

 WKH\FRXOGUHDOO\GRWKHRWKHU

        4'LGWKH\HYHUKDYHDQ\RWKHUEUDQGRI

 VKRHVWKDW\RXFRXOGEX\RUZDVLWDOZD\V6KRHV)RU

 &UHZV"

 $7KH\HDU,OHIWWKH\ZHUHWDONLQJDERXW

 DGGLQJ6NHWFKHUV,GRQ WNQRZLIWKDW,WKLQN

 WKDWKDSSHQHGEXW,ZDVQRWWKHUHZKHQWKDW

 KDSSHQHG

        4'LGDQ\RQHGXULQJLQVSHFWLRQVHYHUDVNRU

 HYHUFKHFNWRVHHLISHRSOHZHUHZHDULQJ6KRHV)RU

 &UHZV"

 $<HV

        4,VWKDWSDUWRI\RXUVFRUHRQWKH

 LQVSHFWLRQ"




                                                                                                              ([KLELW
                                                                                                             3DJHRI
     Case 3:14-cv-01092-BR       Document 182-1            Filed 05/24/19         Page 140 of 194
                'RQQD%DVKDP-DQXDU\15&)LOH3DJH

  FRPSDQ\

         47KDW VDVHSDUDWHGHSDUWPHQW"

  $8KKXK

         4$QGGRWKH\KDQGOHOLNH:RUNHUV &RPS

  FODLPVDVZHOO"

  $1RWKDW VWKURXJK+5

         4'R\RXNQRZZKHWKHU6KRHV)RU&UHZVKDG

  DQ\GHDOZLWK-DFN,Q7KH%R[ZKHUHWKH\ZRXOGSD\

  IRUVOLSDQGIDOOLQMXULHV"

 $,QRWMXVW-DFN,Q7KH%R[6KRHV)RU

 &UHZVKDGDQLQVXUDQFHSROLF\WKDWDQ\ERG\WKDWXVHV

 WKHLUVKRHV

        4,VWKDWZK\WKH\ZRXOGJRWKURXJK$VVHW

 3URWHFWLRQ":RXOGWKH\KDQGOHWKDWSDUWRILW"

 $1R7KH\ZRXOGMXVW\RXNQRZQRUPDOO\

 LWZDVQRUPDOO\+5EXWWKHQLIWKHUHZDVD

 VXVSLFLRXVRIVRPHWKLQJOLNHWKH\VDLGWKH\IHOO

 IHOOLQWKHWKHNLWFKHQEXWQRERG\LQWKHNLWFKHQ

 VDLGWKH\GLGIDOOWKDW VZKHQWKH\ZRXOGJHW

 LQYROYHG

        42ND\)UDXGDQGWKRVHVRUWVRI

 $8KKXK

        4  +RZDERXWXQLIRUPV":HUHHPSOR\HHV
          4+RZDERXWXQLIRUPV":HUHHPSOR\HHV

 UHTXLUHGWRZHDUDXQLIRUP"

         $ <HV
 $<HV




                                                                                                             ([KLELW
                                                                                                            3DJHRI
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                'RQQD%DVKDP-DQXDU\15&)LOH3DJH

         4  $QGZKDWZDVWKDWXQLIRUP"
          4$QGZKDWZDVWKDWXQLIRUP"

         $ +DW VKLUWSDQWVDQGVKRHV
  $+DWVKLUWSDQWVDQGVKRHV

         4  :HUHWKH\SURYLGHGZLWKDQ\RIWKDW
          4:HUHWKH\SURYLGHGZLWKDQ\RIWKDW

  XQLIRUP"

         $ 7KH\ JRWWKHKDWDQGWKHVKLUWDQGDWWKH
  $7KH\JRWWKHKDWDQGWKHVKLUWDQGDWWKH

  WLPHWKH\FRXOGZHDUDQ\MHDQVDQGWKHQWKH\ GEX\

  WKHLUVKRHV+DWVKLUWQDPHWDJDQGDSURQZDV

  SURYLGHG

         4  $QGGLGWKH\KDYHWKH\GLGQ WKDYHWR
          4$QGGLGWKH\KDYHWKH\GLGQ

 EX\WKRVH"

         $ 1RSH
 $1RSH

        4:KDWZRXOGKDSSHQLIWKH\QHHGHGD

 UHSODFHPHQW"

 $0DQDJHUZRXOGJLYHWKHPRQH3HRSOHWKDW

 \HDKWKH\MXVWJDYHLWWRWKHP

        4,VWKDWDOVRWKHFDVHDWIUDQFKLVHVWRUHV

 RULVWKDWXSWRHDFKIUDQFKLVH"

 $,GRQ WNQRZZKDWRWKHUIUDQFKLVHVDUH

 GRLQJ,NQRZZKDWZHGR

        42ND\$QGOHWOHWPHMXVWWDNHD

 PRPHQWQRZWRNLQGRIH[SORUHWKHUHODWLRQVKLS

 EHFDXVHZKDW, PWU\LQJWRILJXUHRXWLVZKLFKRI

 WKHVHUHTXLUHPHQWVDUHSDUWRIEHLQJLQWKH-DFN,Q

 7KH%R[V\VWHPWKDWZRXOGDSSO\QRPDWWHUZKHWKHU

 \RX UHFRUSRUDWHRZQHGRUIUDQFKLVHRZQHG




                                                                                                             ([KLELW
                                                                                                            3DJHRI
     Case 3:14-cv-01092-BR       Document 182-1            Filed 05/24/19         Page 142 of 194
                'RQQD%DVKDP-DQXDU\15&)LOH3DJH

  &UHZV

  $8KKXK

         4DQGWD[HV,DVVXPH

  $8KKXK

         4ZRXOGFRPHRXWRIHYHU\ERG\ VSD\FKHFN

               'R\RXNQRZRIDQ\WKLQJHOVHWKDWZRXOG

  FRPHRXWRIWKHLUSD\FKHFNV"

  $,IWKH\JRWDJDUQLVKPHQW

         4$Q\WKLQJHOVH"

 $&KLOGVXSSRUWRUGHUV

        4$OOULJKW

 $6RPHWKLQJWKH\NQRZDERXW

        4:RXOGWKRVHJHWVHQWWRWKHPDQDJHURUGR

 WKRVH

 $7KH\ UHVHQWWR+5DQG+5DQGWKHSD\UROO

 GHSDUWPHQWWDNHFDUHRIWKDW7KHPDQDJHUGRHVQ W

 HYHUNQRZDERXWDQ\RIWKDW

        4  +RZDERXWXQLIRUPV"'RHPSOR\HHVHYHUSD\
          4+RZDERXWXQLIRUPV"'RHPSOR\HHVHYHUSD\

 IRUXQLIRUPV"

         $ 7KH\ KDGWREX\WKHLURZQSDQWVDQGWKH\
 $7KH\KDGWREX\WKHLURZQSDQWVDQGWKH\

 KDGWREX\WKHLUVKRHV7KDWZDVLW

        4  %XWWKDWGRHVQ WFRPHRXWRIWKHLU
          4%XWWKDWGRHVQ

 SD\FKHFNH[FHSW IRUWKHVKRHV"
   SD\FKHFNH[FHSWIRUWKHVKRHV"

         $ 1R -XVWWKHVKRHV
 $1R-XVWWKHVKRHV

        4$OOULJKW,IWKH\EUHDNVRPHWKLQJRU




                                                                                                             ([KLELW
                                                                                                           3DJHRI
     Case 3:14-cv-01092-BR       Document 182-1            Filed 05/24/19         Page 143 of 194
                'RQQD%DVKDP-DQXDU\15&)LOH3DJH

  $<HV

          42UD"

  $,IWKH\ZHQWRQOXQFKIRUWKDWDPRXQWRI

  WLPH\HV

          46RDQ\WKLQJOHVVWKDQLVVXSSRVHGWREH

  SDLGLVWKDW

  $1RWKDW VQRWZKDW, PVD\LQJ

          42K

  $0\ZKDW,XQGHUVWRRGWKHTXHVWLRQLVLI

 WKH\WRRNRQO\DPLQXWHOXQFK

         45LJKW

 $ZDVWKDWXQSDLG

         41R

 $1RWKH\GRQ WQRWKH\GLGQRWJREDFN

 DQGVD\\RXRQO\ZRUNHGPLQXWHVVR\RXJHWSDLG

 IRULWQR

         42ND\

 $,I\RXZRUNHGXQGHULWZDVSDLG

         4$OOULJKW

         $ 7KDW VMXVWKRZWKHFRPSXWHUVZHUHVHWXS
 $7KDW

         4  ,VHH6RWKH FRPSXWHUVZHUHVHWXSVR
           4,VHH6RWKHFRPSXWHUVZHUHVHWXSVR

 WKDWLI\RXWRRNDPLQXWHOXQFKWKDWZDVXQSDLG

         $ &RUUHFW
 $&RUUHFW

         4  %XWDQPLQXWHOXQFKZRXOGKDYHEHHQ
           4%XWDQPLQXWHOXQFKZRXOGKDYHEHHQ

 SDLG"




                                                                                                              ([KLELW
                                                                                                            3DJHRI
     Case 3:14-cv-01092-BR       Document 182-1            Filed 05/24/19         Page 144 of 194
                'RQQD%DVKDP-DQXDU\15&)LOH3DJH

         $ &RUUHFW
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          42ND\6RDQGWKDWZDVWKHZDVWKH

  OLQH"

  $,QWKHYHU\EHJLQQLQJ,WFRXOGKDYH

  FKDQJHG%XWWKDW VZKDW,UHPHPEHU

          4<RXGRQ WNQRZWKDWLWFKDQJHG<RXMXVW

  GRQ WNQRZZKHWKHULWFKDQJHGRUQRWDIWHUWKDW"

  $1R

          4, GOLNHWRDVN\RXVRPHTXHVWLRQVDERXW

 WKHRQERDUGLQJSURFHVVZKLFKLVIURPZKDW,

 XQGHUVWDQGZKDW-DFN,Q7KH%R[FDOOVLWZKHQDQHZ

 HPSOR\HHEHJLQVDQGUHFHLYHVWKHLUWUDLQLQJDQG

 ILOOVRXWWKHSDSHUZRUNDQGWKLQJVWKDWKDSSHQDW

 WKHEHJLQQLQJRIWKHLUHPSOR\PHQW

              ,VWKDWZKDWWKH\FDOOLW"

 $8KKXK

         4$QGDJDLQ, PWDONLQJDERXWWKH

 FRUSRUDWHVWRUHVKHUH

              :KDWNLQGRISDSHUZRUNGRHVDQHPSOR\HH

 KDYHWRILOORXWRQWKHLUOHW VVD\RQWKHLU

 ILUVWGD\RURQFHWKH\ UHKLUHG"

 $7KH\KDYHWRILOORXW:LQIRUPDWLRQDQG

 DQ,IRUP

         4$Q\WKLQJHOVH"

 $,WKLQN,WKLQNWKRVHDUHWKHWZRPDLQ




                                                                                                             ([KLELW
                                                                                                           3DJHRI
     Case 3:14-cv-01092-BR        Document 182-1           Filed 05/24/19         Page 145 of 194
               'RQQD%DVKDP-DQXDU\15&)LOH3DJH

  &(57,),&$7(2)9,'(2*5$3+(5

 

  ,WKHXQGHUVLJQHG6FRWW*LEVRQDPDYLGHRJUDSKHURQ

  EHKDOIRIWKH1$(*(/,5(3257,1*&25325$7,21,GRKHUHE\

  FHUWLI\WKDW,KDYHDFFXUDWHO\PDGHWKHYLGHRUHFRUGLQJRI

  WKHGHSRVLWLRQRI'RQQD%DVKDPLQWKHDERYHFDSWLRQHG

  PDWWHURQWKHWKGD\RI-DQXDU\WDNHQDWWKH

  ORFDWLRQRI6:0RUULVRQ6XLWH3RUWODQG25

  FRQVLVWLQJRI'9' V 



 1RDOWHUDWLRQVDGGLWLRQVRUGHOHWLRQVZHUHPDGH

 WKHUHWR



 ,IXUWKHUFHUWLI\WKDW,DPQRWUHODWHGWRDQ\RIWKH

 SDUWLHVLQWKHDFWLRQDQGKDYHQRILQDQFLDOLQWHUHVWLQ

 RXWFRPHRIWKLVPDWWHU

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 6FRWW*LEVRQ

 9LGHRJUDSKHU

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 'DWH

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                                                                                                             ([KLELW
                                                                                                           3DJHRI
     Case 3:14-cv-01092-BR        Document 182-1           Filed 05/24/19         Page 146 of 194
               'RQQD%DVKDP-DQXDU\15&)LOH3DJH

  &(57,),&$7(

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  ,0DU\7-DFNVGRKHUHE\FHUWLI\WKDWSXUVXDQWWR

  WKH5XOHVRI&LYLO3URFHGXUHWKHZLWQHVVQDPHGKHUHLQ

  DSSHDUHGEHIRUHPHDWWKHWLPHDQGSODFHVHWIRUWKLQWKH

  FDSWLRQKHUHLQWKDWDWWKHVDLGWLPHDQGSODFH,

  LQVWHQRW\SHDOOWHVWLPRQ\DGGXFHGDQGRWKHURUDO

  SURFHHGLQJVKDGLQWKHIRUHJRLQJPDWWHUDQGWKDWWKH

  IRUHJRLQJWUDQVFULSWSDJHVFRQVWLWXWHDIXOOWUXHDQG

 FRUUHFWUHFRUGRIVXFKWHVWLPRQ\DGGXFHGDQGRUDO

 KDGDQGRIWKHZKROHWKHUHRI



 ,1:,71(66+(5(2),KDYHKHUHXQWRVHWP\KDQGWKLV

 WKGD\RI)HEUXDU\

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 60DU\7-DFNV

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 &RPPLVVLRQ([SLUDWLRQ2FWREHU








                                                                                                             ([KLELW
                                                                                                           3DJHRI
Case 3:14-cv-01092-BR   Document 182-1   Filed 05/24/19   Page 147 of 194




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          ',675,&72)25(*21




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          1,&2/(*(66(/(75,&,$7(75$8/7
          DQG&+5,67,1$/8&+$8RQEHKDOI
          RIWKHPVHOYHVDQGDOORWKHUV
          VLPLODUO\VLWXDWHG

          3ODLQWLIIV

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          FRUSRUDWLRQRI'HODZDUH

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          7$.(121%(+$/)2)7+(3/$,17,))6
          021'$<)(%58$5<




                                                                             ([KLELW
                                                                            3DJHRI
     Case 3:14-cv-01092-BR      Document 182-1             Filed 05/24/19        Page 148 of 194
                  *HQH-DPHV)HEUXDU\15&)LOH3DJH

  IULFWLRQ"

  $7KDWZRXOGEHFRUUHFW

          4  ,VWKDWWHVWLQJGRQHE\-DFN,Q7KH%R["
           4,VWKDWWHVWLQJGRQHE\-DFN,Q7KH%R["

         $ 1R
  $1R

          4  :KRLVWKH WHVWLQJGRQHE\"
           4:KRLVWKHWHVWLQJGRQHE\"

         $ :HZHQWWRDQLQGHSHQGHQWODERUDWRU\
  $:HZHQWWRDQLQGHSHQGHQWODERUDWRU\

  FDOOHG3UHFLVLRQ/DERUDWRULHVLQ1DVKYLOOH

  7HQQHVVHHDQGZHIXQGHGWKHODERUDWRU\ZHZH

   ZHIXQGHGWKHWHVWDWWKHODERUDWRU\RIDQXPEHU
   ZHIXQGHGWKHWHVWDWWKHODERUDWRU\RIDQXPEHU

 RIGLIIHUHQWVKRHVDOPRVW\HDUVDJR:HWKHQGLG

 LWDJDLQ,WKLQNDERXWD\HDUDJRPD\EHD\HDUDQG

 DKDOIDJRZKHUHZHEURXJKWLQVKRHVIURPIURP

 .0DUWVKRHVIURP6HDUVGLIIHUHQWGLIIHUHQW

 VKRHVWRWR HVWDEOLVKWKDWWKH\KDGDQDFFHSWDEOH
   VKRHVWRWRHVWDEOLVKWKDWWKH\KDGDQDFFHSWDEOH

 OHYHORIFRHIILFLHQWRIIULFWLRQ

         4:KDWLVWKHDFFHSWDEOHOHYHORI

 FRHIILFLHQWRIIULFWLRQ"

 $

         4'RDOORIWKHVKRHVFXUUHQWO\DSSURYHGIRU

 ZHDUE\HPSOR\HHVLQ-DFN,Q7KH%R[UHVWDXUDQWV

 H[FHHG"

 $<HV

         4,VWKHFRHIILFLHQWRIIULFWLRQDIIHFWHGE\

 ZHDU"

 $,WZRXOGEH




                                                                                                              ([KLELW
                                                                                                            3DJHRI
     Case 3:14-cv-01092-BR      Document 182-1             Filed 05/24/19        Page 149 of 194
                  *HQH-DPHV)HEUXDU\15&)LOH3DJH

  RIWKHULVNPDQDJHPHQWPDQXDOKRZZRXOG\RXJR

  DERXWGRLQJWKDW"

  $,ZRXOGSUREDEO\FRPHWRPHILUVW,

  ZRXOGJRWRULVNPDQDJHPHQWWKHDQGWKHQ+5

  WUDLQLQJDQGRSHUDWLRQV

           42ND\

  $,GRQRWKDYHRQHIURPWKDWIURPWKRVH

  GD\V

           4,VWKHUHDVHSDUDWHDVVHWSURWHFWLRQ

 PDQXDORUDUHWKHDVVHWSURWHFWLRQSROLFLHV

 FRQWDLQHGZLWKLQWKHULVNPDQDJHPHQWPDWHULDOV"

 $7KHUH VQRWDVHSDUDWHDVVHWSURWHFWLRQ

 PDQDJHPHQWPDQXDO(YHU\WKLQJ VFRQWDLQHGZLWKLQ

 ULVNPDQDJHPHQWPDQXDO

          4  $QGZKHQGLGWKHZKHQZDVWKHILUVW
            4$QGZKHQGLGWKHZKHQZDVWKHILUVW

 VKRHSROLF\WKDW\RXDUHDZDUHRIEHFDPHDZDUHRI

 VLQFH\RXVWDUWHGDW-DFN,Q7KH%R["

         $ :HZRXOGKDYHGHYHORSHGLWLQIRUD
 $:HZRXOGKDYHGHYHORSHGLWLQIRUD

 UROORXWLQ-DQXDU\RI

          4  <RXVD\\RXGHYHORSHGLW:KRZDV
            4<RXVD\\RXGHYHORSHGLW:KRZDV

 LQYROYHGLQWKDW"

         $ 2YHUDSHULRGRIIRXUILYHVL[PRQWKVD
 $2YHUDSHULRGRIIRXUILYHVL[PRQWKVD

 SURORQJHGSHULRGZHFRQYHQHGZKDWZHFDOOHGRXU

 VDIHW\V\PSRVLXP
   VDIHW\V\PSRVLXPDQGZHEURXJKWLQUHSUHVHQWDWLYHV

 IURPDFURVVWKHFRPSDQ\IURPRSHUDWLRQVIURP




                                                                                                               ([KLELW
                                                                                                             3DJHRI
     Case 3:14-cv-01092-BR      Document 182-1             Filed 05/24/19        Page 150 of 194
                  *HQH-DPHV)HEUXDU\15&)LOH3DJH

  GLIIHUHQWSDUWVRIWKHFRXQWU\IURPGLVWULEXWLRQ

  +5WUDLQLQJ:HSUREDEO\KDGDQ\ZKHUHIURPWR

  SHRSOHLQYROYHGDWDQ\RQHWLPHDQGWKHJURXS

  ZRXOGFRQWUDFWRUH[SDQGDVDVQHHGHGDVZHPHW

  :HSUREDEO\PHWIRXUWLPHVRYHURYHUDERXWIRXU

  RUILYHPRQWKV$QGWKHREMHFWRIWKHH[HUFLVHZDV

  QRWWRSODQLQDYDFXXPWRLQYROYHDOODVSHFWVRI

  WKHFRPSDQ\LQWKHLQZKDWZHWKHQFDOOHGWKHQHZ

  QHZVDIHW\SURJUDP

              $QGDWWKHHQGRIDWWKHHQGRIWKH
 $QGDWWKHHQGRIDWWKHHQGRIWKH

 SURFHVVLVZKHQZHFDPHXSZLWKZKDWZHFDOOHGRXU

 QHZVDIHW\SURJUDPZLWKDVOLSUHVLVWDQWVKRH

 SURJUDPEHLQJSUREDEO\WKHFRUQHUVWRQHRIRXUVDIHW\

 SURJUDP

        4:KDWRWKHUVWRQHVEHVLGHVWKHFRUQHUVWRQH

 ZHUHWKHUHLQWKHVDIHW\SURJUDP"

 $7KHUHZDVDUHTXLUHPHQWIRUPDQDJHIRU

 DUHDPDQDJHUVWRUHSRUWORVWWLPHFODLPVDQGWR

 WRLQYHVWLJDWHWKHPEDVLFDOO\GRDSRVWPRUWHPRQ

 RQFODLPVWRILQGRXWZKDWWKHFDXVDOIDFWRUVZHUH

 7KHUHZDVWKHUHTXLUHPHQWWRKDYHDDVOLS

 UHVLVWDQWH[FXVHPHDDPRSIRUDPRSDQG

 DEXFNHWIRUWKHEDFNRIWKHUHVWDXUDQWDQGDPRS

 DQGDEXFNHWIRUWKHIURQWRIWKHUHVWDXUDQWVRZH

 ZHUHQ WEULQJLQJFRQWDPLQDWHGZDWHUIURPWKHWKH




                                                                                                              ([KLELW
                                                                                                            3DJHRI
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                  *HQH-DPHV)HEUXDU\15&)LOH3DJH

  DYHUDJHVWUHHWVKRHRUDVQHDNHU"

  $,ZRXOG,GRQ WNQRZ, GKDYHWRGR

       WUHVHDUFK
  WKDWUHVHDUFK

         4  +RZZDVLW GHWHUPLQHGWKDWWKHPLQLPXPFR
          4+RZZDVLWGHWHUPLQHGWKDWWKHPLQLPXPFR

  IULFWLRQFRHIILFLHQWRIIULFWLRQH[FXVHPH

  ZRXOGEHIRU-DFN,Q7KH%R[ VQRQVOLSVKRHV"

         $ 7KHUH VDWKHUH VDWKHUH VD'U
  $7KHUH

  %UXQJURFNHU SKRQHWLF ZKRLVWKHZRUOG VH[SHUWRQ

  VOLSUHVLVWDQWVKRHVDQGFRHIILFLHQWV$QGDQG

 DFWXDOO\LWGHULYHGIURPDDSKRQHFRQYHUVDWLRQ

 ,KDGZLWKKLP DSKRQHLQWHUYLHZ,KDGZLWKKLP
   ,KDGZLWKKLPDSKRQHLQWHUYLHZ,KDGZLWKKLP

 EDFNLQ

        4+HVDLGWKDWWKDWZDVDJRRGPLQLPXP"

         $ <HV ,ZRXOGDOVRSRLQWRXWWKDWZHLQ
 $<HV,ZRXOGDOVRSRLQWRXWWKDWZHLQ

 LQJRLQJLQWR-DFN,Q7KH%R[KDG

 DQLQMXU\IUHTXHQF\UDWHRIZKLFKZDVDERXW

 SHUFHQWDERYHWKHLQGXVWU\DYHUDJH$QGLI\RX

 ZRXOGUHYLHZWKHGDWD\RXZRXOGVHHWKDWRQFHZH

 H[HFXWHGRXUVOLSUHVLVWDQWVKRHSURJUDPRXU

 LQMXU\IUHTXHQF\UDWHZHQWGRZQLQWRWKHORZV

 KLJKVDQGIURPWLPHWRWLPHZDVHYHQLQWKHORZ

 V6R,WKLQNZHKDYHVRPHSUHWW\JRRGGDWDWKDW

 RXUVKRHSURJUDPZDVTXLWHHIIHFWLYH

        4  ZKDW"
          4ZKDW"

         $ ,QMXU\IUHTXHQF\UDWH
 $,QMXU\IUHTXHQF\UDWH




                                                                                                               ([KLELW
                                                                                                             3DJHRI
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                  *HQH-DPHV)HEUXDU\15&)LOH3DJH

  SXUFKDVH6KRHVIRU&UHZVWKDWWKH\FDQ WZHDUWKH

  VKRHJXDUGVIRUHYHU"

  $,W VQRWWKHLQWHQWRIWKHSROLF\RUWKH

  SURJUDPWKDWZHGHYHORSHG

         42ND\%XW\RXGRQ WNQRZZKHWKHUWKDW V

  GRQHRUQRW"

  $,FDQ WEHDFFRXQWDEOHIRUZKDWDWKRXVDQG

  UHVWDXUDQWPDQDJHUVVD\RUGR

         4  2ND\:KHQ\RXKDGWKH3UHFLVLRQ/DE
          42ND\:KHQ\RXKDGWKH3UHFLVLRQ/DE

 VWXG\IXQGHG\HDUVDJRRUDOPRVW\HDUVDJR

 WKHILUVWWLPH\RXGLGLW

         $ 8PKXP
 $8PKXP

        4  :KRZKDWZHUHWKHEUDQGVWKDWSDVVHG"
          4:KRZKDWZHUHWKHEUDQGVWKDWSDVVHG"

         $ ,ZRXOGKDYHWRJREDFNRKFHUWDLQO\
 $,ZRXOGKDYHWRJREDFNRKFHUWDLQO\

 6KRHVIRU&UHZVSDVVHGFHUWDLQO\)RRWVWDUSDVVHG

 :HGLGQ WNQRZRI.HXNDDWWKHWLPH.HXNDZDV

 WHVWHGODWHU7KHUHZHUHRWKHUEUDQGVWKHUHDQG,

 FRXOGQ WEHJLQWRWHOO\RXZKLFKRQHVSDVVHGDQG

 GLGQ WSDVV

        4  :HUHWKHUHDQ\ WKDWSDVVHGWKDWZHUHQRW
          4:HUHWKHUHDQ\WKDWSDVVHGWKDWZHUHQRW

 DGGHGWRWKHOLVWRIDSSURYHGVKRHV"

         $ , PVXUHWKHUHWKHUHZHUH
 $,

        4  :K\"
          4:K\"

         $ %HFDXVHWKH\SDVVHGEHFDXVHWKH\
 $%HFDXVHWKH\SDVVHGEHFDXVHWKH\

 SUREDEO\ZHUHEXLOWLQDFHUWDLQZD\WKDWWKDW




                                                                                                              ([KLELW
                                                                                                            3DJHRI
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                  *HQH-DPHV)HEUXDU\15&)LOH3DJH

  DFKLHYHGWKHFRHIILFLHQWRIIULFWLRQWKDWZHZHUH

  ORRNLQJIRU

         4  , PVRUU\0D\EHP\TXHVWLRQZDV
          4,                 P

   FRQIXVLQJ :HUHWKHUHDQ\VKRHVWKDWSDVVHGWKDWKDG
  FRQIXVLQJ:HUHWKHUHDQ\VKRHVWKDWSDVVHGWKDWKDG

  DKLJKHQRXJKFRHIILFLHQWRIIULFWLRQEXWWKDW

  QHYHUWKHOHVVZHUHQRWDSSURYHGIRUUHVWDXUDQWZHDU"

         $ , PVXUHWKHUHZHUH
  $, PVXUH WKHUHZHUH

         4$QG, PDVNLQJZK\ZRXOGZK\ZRXOGWKDW

  GHFLVLRQKDYHEHHQPDGHLIWKH\LIWKH\SDVVHGDW

 WKHHQGDWWKH3UHFLVLRQ/DERUDWRULHVWHVW"

 $3RVVLEO\FRVWSRVVLEO\WKHKRZWKH

 SURGXFWORRNHGZKDWZKDWZHSHUFHLYHGDVWKH

 TXDOLW\RIWKHSURGXFWRUZKDWZHWKRXJKWWKH

 WKHTXDOLW\RIWKHVHUYLFHZRXOGEH7KLVJRHVEDFN

 \HDUVDJRVR, P,ZRXOGRQO\EHJXHVVLQJDW

 WKLVSRLQW

        4:HOO,GRQ WZDQW\RXWRJXHVV%XWLI

 \RXKDYHDQHVWLPDWHEDVHGRQ\RXUUHFROOHFWLRQ

 WKHQZH,ZDQWWRNQRZZKDW\RXNQRZDQGDQG

 ZKDW\RX YHEHHQSUHSDUHGWRDQVZHU

 $<HDK

        4RQEHKDOIRIWKHFRPSDQ\VR

              053$5.(5:HOO, PJRLQJWRREMHFW,

 GRQ WNQRZZKDWDQHVWLPDWHEDVHGRQUHFROOHFWLRQ

 LV6RXQGVOLNHDJXHVVWRPH




                                                                                                              ([KLELW
                                                                                                             3DJHRI
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                  *HQH-DPHV)HEUXDU\15&)LOH3DJH

  FODLPWR6KRHVIRU&UHZV

          4'R\RXNQRZLIWKDW VGRQHHOHFWURQLFDOO\

  RUE\WHOHSKRQHRU

  $,GRQRWNQRZKRZWKDW VGRQH

          4  :HWDONHGDWWKHEHJLQQLQJDERXWZKDW\RX
           4:HWDONHGDWWKHEHJLQQLQJDERXWZKDW\RX

   KDGGRQHWRSUHSDUH IRUWKHGHSRVLWLRQ<RXVDLG
  KDGGRQHWRSUHSDUHIRUWKHGHSRVLWLRQ<RXVDLG

  WKDW\RXORRNHGDWWKHDPRXQWVRIUHEDWHVIURP6KRHV

  IRU&UHZV"

         $ 8PKXP\HV
  $8PKXP\HV

         4  :KDWZDVWKDW"
           4:KDWZDVWKDW"

         $ 7KHDPRXQWRIUHEDWHVIURP6KRHVIRU&UHZV
 $7KHDPRXQWRIUHEDWHVIURP6KRHVIRU&UHZV

 VLQFHLV

         4  $QGZKDWGRHVWKDWPHDQUHEDWHV"
           4$QGZKDWGRHVWKDWPHDQUHEDWHV"

         $ ,WPHDQV EDVLFDOO\IRUHYHU\SDLURIVKRHV
 $,WPHDQVEDVLFDOO\IRUHYHU\SDLURIVKRHV

 WKDWZHUHVROGWRD-DFN,Q7KH%R[HPSOR\HH-DFN

 ,Q7KH%R[UHFHLYHVDUHEDWHIURP6KRHVIRU

 &UHZV

         4  5HEDWHIURPZKDW"
           45HEDWHIURPZKDW"

         $ )URPUHFHLYHVDSD\PHQW
 $)URPUHFHLYHVDSD\PHQW

         4  6RGRHVWKDWPHDQWKDWWKHUHZHUH
           46RGRHVWKDWPHDQWKDWWKHUHZHUH

 DSSUR[LPDWHO\SDLUVRIVKRHVVROGVLQFH

 "

         $ 7KDWZRXOGEHWKHURXJKPDWK
 $7KDWZRXOGEHWKHURXJKPDWK

         4  2ND\7HOOPH DERXWWKHLQGHPQLW\
           42ND\7HOOPHDERXWWKHLQGHPQLW\

 SD\PHQWVIURP6KRHV IRU&UHZV
   SD\PHQWVIURP6KRHVIRU&UHZV




                                                                                                              ([KLELW
                                                                                                            3DJHRI
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                  *HQH-DPHV)HEUXDU\15&)LOH3DJH

         $ 6LQFHH[FXVHPH6LQFH
  $6LQFHH[FXVHPH6LQFH

  WKHUHKDVEHHQLQLQGHPQLW\SD\PHQWV

  7KHUHZHUHLQGHPQLW\SD\PHQWVSULRUWRWKDWEXWZH

  FDQQRWUHFRQVWUXFWWKDWGDWDDWWKLVWLPH

         4$QGKRZDERXWZULWHRIIVIURP6KRHVIRU

  &UHZV"

  $-DFN,Q7KH%R[KDVZULWWHQRIIVLQFH

  PLOOLRQ,W VPLOOLRQ

         4,QLQZKDW"

 $,QVKRHVWKDWZHSDLGIRUWKDWZHZHUHQRW

 DEOHWRUHFRXSIURPRXUSD\UROOGHGXFWLRQSURJUDP

 (PSOR\HHOHIWDQGZHZHUHXQDEOHWRFRQWLQXHWR

 GHGXFWIURPKLVSD\FKHFNIRUWKRVHVKRHV

        42ND\:HWDNHEUHDNVIURPWLPHWRWLPH

 MXVWVRHYHU\RQHFDQVWD\IUHVK6RZK\GRQ WZH

 WDNHDEUHDNQRZDQGZH OOFRPHEDFNDQGFRQWLQXH

 ZLWKWKHTXHVWLRQV

 $+RZORQJ")LYHPLQXWHV"

        4$VORQJDV\RXQHHG\HDK

 $, OORQO\QHHGILYHPLQXWHV

              7+(9,'(2*5$3+(5*RLQJRIIUHFRUG7KH

 WLPHLVDP

                :KHUHXSRQWKHUHZDVDVKRUWUHFHVV

 WDNHQ

              7+(9,'(2*5$3+(5*RLQJEDFNRQWKH




                                                                                                              ([KLELW
                                                                                                            3DJHRI
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                  *HQH-DPHV)HEUXDU\15&)LOH3DJH

  UHFRUG7KHWLPHLVDP

  %<05(*$1

         4  %HIRUHWKH EUHDNZHZHUHWDONLQJDERXWRQH
          4%HIRUHWKHEUHDNZHZHUHWDONLQJDERXWRQH

  RIWKHVWDWLVWLFVWKDW\RXORRNHGXSLQSUHSDUDWLRQ

  IRUWKLVGHSRVLWLRQZDVWKHDPRXQWRIUHEDWHVIURP

  6KRHVIRU&UHZV<RXVDLGWKDW-DFN,Q7KH%R[

  UHFHLYHVDUHEDWHIRUHYHU\SDLURIVKRHVWKDW V

  VROG'RHVWKDWDSSO\WRWKHFUHZJXDUGVDVZHOO

  RUMXVWWKHVKRHV"

         $ 1RMXVWWKHVKRHV
 $1RMXVWWKHVKRHV

        4  'RHVLWDSSO\RQO\WRVKRHVWKDWDUH
          4'RHVLWDSSO\RQO\WRVKRHVWKDWDUH

 SXUFKDVHGWKURXJKSD\UROOGHGXFWLRQRUDQ\LQ

 DQ\ZD\"

         $ 3D\UROOGHGXFWLRQ
 $3D\UROOGHGXFWLRQ

        42ND\$QGZKDWKDSSHQVWRWKDWPRQH\"

 'RHVWKDWJHWUHIXQGHGWRWKHVWRUHVRUZKDW

 KDSSHQVWRLW"

 $,WFRPHVEDFNWRWR&6&,WGRHVQRW

 FDVFDGHEDFNWRWKHVWRUHV

        4$QG,EHOLHYH\RXDOVRVDLGWKDWWKHFUHZ

 JXDUGVDUHILUVW\RXVDLGWKH\ZHUHWKH\ZHUH

 SXUFKDVHGE\WKHFRPSDQ\DQGWKHQ\RXVDLGWKDW

 WKH\ UHVWRFNHGDWWKHGLVWULEXWLRQFHQWHU,V

 LVWKHUHVRPHVRUWRIFRQVLJQPHQWDUUDQJHPHQWRU

 GRHV-DFN,Q7KH%R[KDYHWRSXUFKDVHWKHPEHIRUH




                                                                                                              ([KLELW
                                                                                                           3DJHRI
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                  *HQH-DPHV)HEUXDU\15&)LOH3DJH

  WKH\ UHVWRFNHGWKHUH"

  $1R7KHWKHGLVWULEXWLRQFHQWHUVZRXOG

  ZRXOGJHWWRDFHUWDLQOHYHOLQLQFUHZ

  JXDUGVDQG, PQRWVXUHZKDWWKDWOHYHOZRXOGEH

  %XWWKH\ZRXOGWKHQRUGHUWKHPDVWKH\GHHP

  DSSURSULDWHVRWKH\FRXOGILOOWKHILOORUGHUVDV

  RUGHUVFRPHLQIURPUHVWDXUDQWV

         4%XWGRHV6KRHVIRU&UHZVFKDUJH\RXXSRQ

  GHOLYHU\RIWKHVKRHJXDUGVRUGRWKH\RQO\FKDUJH

 XSRQWKHWKHLUWKHLUILQDOGHOLYHU\WRWKH

 UHVWDXUDQW"

 $1RWKH\WKH\WKH\WKH\FKDUJH

 XSRQGHOLYHU\WR-DFN,Q7KH%R[

        46R-DFN,Q7KH%R[SD\V6KRHVIRU&UHZV

 GLUHFWO\DQGWKHQFKDUJHVWKDWFDVFDGHGGRZQ,

 WKLQNZDV\RXUWHUPWRWKHUHVWDXUDQWZKHQWKH\ UH

 DFWXDOO\GHOLYHUHG"

 $7KDW VFRUUHFW

        42ND\

 $<HDK7KHUHZRXOGEHDFKDUJHIRUWKRVH

        4  $OOULJKW'RDQ\RIWKHRWKHUVKRH
          4$OOULJKW'RDQ\RIWKHRWKHUVKRH

 PDQXIDFWXUHUVSURYLGHVLPLODUUHEDWHVWR-DFN,Q7KH

 %R["

         $ (YHU\HYHU\PDQXIDFWXUHUZH YHGHDOW
 $(YHU\HYHU\PDQXIDFWXUHUZH

 ZLWKZLWKWKH H[FHSWLRQRIRIRIZLWKWKH
   ZLWKZLWKWKHH[FHSWLRQRIRIRIZLWKWKH




                                                                                                              ([KLELW
                                                                                                            3DJHRI
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                  *HQH-DPHV)HEUXDU\15&)LOH3DJH

  H[FHSWLRQRI6NHWFKHUVKDVSURYLGHGDDD

  VLPLODUUHEDWH

         4  $UHWKH\
          4$UHWKH\

         $ $QLGHQWLFDOUHEDWH,VKRXOGVD\
  $$QLGHQWLFDOUHEDWH,VKRXOGVD\

         4  +DVWKDWEHHQWUXHVLQFHWKHEHJLQQLQJRI
          4+DVWKDWEHHQWUXHVLQFHWKHEHJLQQLQJRI

  WKHVDIHW\SURJUDP"

         $ <HV
  $<HV

         4  $WWKH
          4$WWKHEHJLQQLQJKRZZRXOGHPSOR\HHV

  H[FXVHPH$WWKHEHJLQQLQJRIWKHVDIHW\SURJUDP

 KRZZRXOGHPSOR\HHVJRDERXWRUGHULQJDSDLURI

 6KRHVIRU&UHZV"

 $7KH\FRXOGFDOO6KRHVIRU&UHZV

        4$QGZKDWZRXOGZRXOGWKH\KDYHWRJLYH

 WKHLUHPSOR\HHQXPEHURUFDQDQ\ERG\RIIWKHVWUHHW

 MXVWFDOO"

 $1RWKH\ZRXOGFDOODQGJLYHWKHLU

 HPSOR\HHQXPEHU

        42ND\$QGKDVWKDWPHWKRGFKDQJHGQRZ"

 'RWKH\VWLOOKDYHWRFDOORUFDQWKH\GRWKDW

 RQOLQH"

 $7KHWKH\VWLOOFDOO:H UHZRUNLQJRQ

 DQRQDQRQOLQHSURJUDP

        4$OOULJKW:KHQWKH\FDOOLVWKHUHDQ\

 NLQGRIIRUPWKH\KDYHWRVLJQWKDW

 $<HV




                                                                                                             ([KLELW
                                                                                                           3DJHRI
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                  *HQH-DPHV)HEUXDU\15&)LOH3DJH

  UHJLRQDQGSURYLGHWKDWWKDW3RZHU3RLQW

  SUHVHQWDWLRQ

         4  $QGGLG3DXO6FKXOW]DSSURYHWKDWVDIHW\
          4$QGGLG3DXO6FKXOW]DSSURYHWKDWVDIHW\

  SURJUDP"

         $ <HV
  $<HV

         4  'LGKHKDYHWRJHWDSSURYDOIURPWKHERDUG
          4'LGKHKDYHWRJHWDSSURYDOIURPWKHERDUG

  RIGLUHFWRUVIRUWKDW"

         $ 1R
  $1R

         4  'R\RXHYHUPDNHUHSRUWGLUHFWO\WRWKH
          4'R\RXHYHUPDNHUHSRUWGLUHFWO\WRWKH

 ERDUGRIGLUHFWRUV"

         $ ,QHYHUKDYH
 $,QHYHUKDYH

        4  $OOULJKW 'LG0U6FKXOW]DOVRDSSURYH
          4$OOULJKW'LG0U6FKXOW]DOVRDSSURYH

 WKHSRUWLRQRIWKHSURJUDPZKHUHHPSOR\HHVFRXOGSD\

 IRUWKHVKRHVWKURXJKSD\UROOGHGXFWLRQV"

         $ , PQRWVXUHKHZRXOGKDYHKDGWRKDYH
 $,

 GRQHWKDWFRQVLGHULQJLWZDVDOUHDG\LQSODFH%XW

 ZKDWKHGLGDSSURYHZDVWDNLQJWKHSD\UROOGHGXFWLRQ

 IURPWKUHHGHGXFWLRQVIURPWKUHHSD\SHULRGVWR

 IRXUSD\SHULRGVZKLFKWKHUHDVRQZK\WKDWZDV

 LPSRUWDQWLWVLJQLILFDQWO\LQFUHDVHGRXUH[SRVXUH

 WRZULWHRIIV

        4  2KWKDW VZK\\RXKDGWRKDYHKLV
          42KWKDW

 DSSURYDOIRUWKDW"2UZKDWGR\RXPHDQE\ZDVLW

 LPSRUWDQW"

         $ <HV EHFDXVHLWLWZDVDQLPSRUWDQW
 $<HVEHFDXVHLWLWZDVDQLPSRUWDQW




                                                                                                             ([KLELW
                                                                                                           3DJHRI
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                  *HQH-DPHV)HEUXDU\15&)LOH3DJH

  SDUWRIRIWKHSURJUDPWROHVVHQZHZDQWHGWR
    SDUWRIRIWKHSURJUDPWROHVVHQZHZDQWHGWR

  OHVVHQZHZDQWHGWROHVVHQWKHEXUGHQRQRXU

  HPSOR\HHVRQDSD\FKHFNE\SD\FKHFNSHULRGLIWKH\

  RUGHUHGWKHVKRHVEXWDWWKHVDPHWLPHZLWKD

  RU SHUFHQWWXUQRYHUUDWHZLWKFRPSDQ\HPSOR\HHV
   RUSHUFHQWWXUQRYHUUDWHZLWKFRPSDQ\HPSOR\HHV

  FHUWDLQO\H[WHQGLQJRXUSD\UROOGHGXFWLRQRXW

  DQRWKHUWZRZHHNVZDVJRLQJWRVLJQLILFDQWO\

  LQFUHDVHRXUZULWHRIIV6R\HDKLWZDVD

  GLVFXVVLRQWKDWZHKDGWRKDYHZLWK3DXO6FKXOW]

 WKHSUHVLGHQWRIWKHFRPSDQ\

         4(DUOLHU\RXVDLGWKDW6KRHVIRU&UHZVRQH

 RIWKHLUFDYHDWVIRULQGHPQLI\LQJ-DFN,Q7KH%R[LV

 WKDWWKHVKRHVEHOHVVWKDQVL[PRQWKVROGLVWKDW

 ULJKW"

 $7KDW VFRUUHFW

         4,VWKHUHDQ\GRHV-DFN,Q7KH%R[NHHS

 WUDFNRIKRZROGDQ\SDUWLFXODUHPSOR\HH VVKRHV

 DUHRUKRZKRZORQJDJRLWZDVWKDWWKH\RUGHUHG

 WKHP"

 $:HGRQRW

         42ND\$QGKRZDERXWWKHFUHZJXDUGV",V

 WKHUHDQ\WLPHOLPLWDWLRQRQWKHPIRUIRU

 LQGHPQLILFDWLRQ"

 $1R

         4'RHV-DFN,Q7KH%R[FDUU\:RUNHUV




                                                                                                             ([KLELW
                                                                                                           3DJHRI
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                  *HQH-DPHV)HEUXDU\15&)LOH3DJH

  &RPSHQVDWLRQLQVXUDQFH"

  $,,ZRXOGQRWEHWKHSHUVRQPRVW

  NQRZOHGJHDEOHRQZKDWRXURQKRZZHVWUXFWXUHRXU

  ULVNPDQDJHPHQWSURJUDP

         42ND\:KRZRXOGEHWKDWSHUVRQ"

               053$5.(5,WKLQN5D\3HSSHUZDVWKH

  SHUVRQGHVLJQDWHGIRUWKDW

  %<05(*$1

         4:RXOG\RXDJUHHZLWKWKDW"

 $,ZRXOGDJUHHZLWKWKDW

        4  2ND\,IDQHPSOR\HHTXLWVRULV
          42ND\,IDQHPSOR\HHTXLWVRULV

 WHUPLQDWHGEHIRUHWKH\KDYHSDLGIRUWKHLUVKRHV

 ZLWKWKHIRXUSD\UROOGHGXFWLRQVGRHV-DFN,Q7KH

 %R[JHWFKDUJHGWKDWDPRXQWE\6KRHVIRU&UHZV"2U

 KRZKRZGRHV WKDWZRUN"
   KRZKRZGRHVWKDWZRUN"

         $ :KDW RFFXUVLQLQDOOOLNHOLKRRGZH
 $:KDWRFFXUVLQLQDOOOLNHOLKRRGZH

 KDYHDOUHDG\SDLGDQLQYRLFHIRUWKRVHVKRHV:H

 JHWLQYRLFHGRQDUHJXODUEDVLVIURP6KRHVIRU&UHZV

 IRUWKHIRU WKHVKRHVWKDWRXUHPSOR\HHVRUGHU
   IRUWKHIRUWKHVKRHVWKDWRXUHPSOR\HHVRUGHU

 WKURXJKWKHSD\UROOGHGXFWLRQSURJUDP6RLQDOO

 OLNHOLKRRGZH YHZH YHHLWKHUDOUHDG\SDLGWKDW

 LQYRLFHRUZH UHDERXWWRSD\WKDWLQYRLFH

        4  2ND\6RVR-DFN,Q7KH%R[SD\VIRU
          42ND\6RVR-DFN,Q7KH%R[SD\VIRU

 WKHVKRHVULJKW DZD\"
   WKHVKRHVULJKWDZD\"

         $ ([DFWO\
 $([DFWO\




                                                                                                             ([KLELW
                                                                                                           3DJHRI
     Case 3:14-cv-01092-BR      Document 182-1             Filed 05/24/19        Page 162 of 194
                  *HQH-DPHV)HEUXDU\15&)LOH3DJH

         4  $QGWKHQUHFRXSVWKDWSD\PHQWIURPWKH
          4$QGWKHQUHFRXSVWKDWSD\PHQWIURPWKH

  SD\UROOGHGXFWLRQV"

         $ <HV
  $<HV

         4$QGLIDQHPSOR\HHGRHVQ WVWD\ORQJ

  HQRXJKIRU-DFN,Q7KH%R[WRUHFRXSWKHZKROH

  SD\PHQWLVWKDWDPRXQWFKDUJHGEDFNWRWKHVWRUH

  RUGRHVLWMXVWUHPDLQKHUHDW&6&"

  $5HPDLQVKHUHDW&6&

         4  2ND\7HOOPHDERXWKRZVWRUHVDUH
          42ND\7HOOPHDERXWKRZVWRUHVDUH

 LQVSHFWHGIRUVDIHW\LVVXHVKRZRIWHQWKDWKDSSHQV

 DQGZKDW VLQYROYHGZLWKWKDW

         $ 7KHDWWKHEHJLQQLQJRIWKLVRIWKLV
 $7KHDWWKHEHJLQQLQJRIWKLVRIWKLV

 SURJUDPWKHUH ZDVD4)&SURFHVV
   SURJUDPWKHUHZDVD4)&SURFHVV

        4  :KDWGRHVWKDWVWDQGIRU"
          4:KDWGRHVWKDWVWDQGIRU"

         $ 4XDOLW\IRRGFOHDQOLQHVV$QGWKHUH
 $4XDOLW\IRRGFOHDQOLQHVV$QGWKHUH

 DFWXDOO\ZDVD WKHUHDFWXDOO\ZDVDVHFWLRQRI
   DFWXDOO\ZDVDWKHUHDFWXDOO\ZDVDVHFWLRQRI

 RIWKDW4)&WKDWKDGWRGRZLWKVDIHW\DQGDWWKH

 WLPHWKHUHZHUHHLJKWRUQLQHVDIHW\TXHVWLRQV%XW

 WKHRQHWKLQJWKDWZRXOGIDLOWKHVWRUHZRXOGEH

 HPSOR\HHVKDYLQJMXVWRQHHPSOR\HHWKDWGLGQ W

 KDYHDSSURYHGIRRWZHDU

        4  2QHHPSOR\HHZRXOGIDLOWKHVWRUH"
          42QHHPSOR\HHZRXOGIDLOWKHVWRUH"

         $ 2QHHPSOR\HHZLWKRXWWKHDSSURYHGIRRWZHDU
 $2QHHPSOR\HHZLWKRXWWKHDSSURYHGIRRWZHDU

 FRXOGIDLOWKH VWRUHRQWKHVDIHW\FRPSRQHQWRIWKH
   FRXOGIDLOWKHVWRUHRQWKHVDIHW\FRPSRQHQWRIWKH

 4)&7KHUHZDV DOVRWKHWKHFRQYHQWLRQDOSDUWRI
   4)&7KHUHZDVDOVRWKHWKHFRQYHQWLRQDOSDUWRI




                                                                                                             ([KLELW
                                                                                                           3DJHRI
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                  *HQH-DPHV)HEUXDU\15&)LOH3DJH

  $,DP

         42ND\

               05678%%/(),(/'$VNKLPZKHUH

  %<05(*$1

         42ND\, PJRLQJWRQRZKDYHWRWXUQWR

  %DWHVSDJH,W VLQDQRWKHUYROXPHWKDWZH OO

  JHWIRU\RX

  $2ND\

         46RWKLVLVDGRFXPHQWWKDW,WKLQNZHJRW

 IURPWKHWUDLQLQJGHSDUWPHQW,WOLVWVZKLFKRIWKH

 FRPSXWHUEDVHGWUDLQLQJVHVVLRQVKDYHWREH

 DFFRPSOLVKHGE\ZKLFKOHYHORIZKLFKHPSOR\HH

 %XW,MXVWZDQWHGWRDVN\RXLQJHQHUDOWKHVDIHW\

 SURJUDPWKDWZH UHWDONLQJDERXWDQGWKHFKDQJHV

 WKDWKDYHEHHQPDGHWRWKDWRYHUWLPHWKRVH

 UHTXLUHPHQWVKDYHEHHQLPSOHPHQWHGE\EHLQJSDVVHG

 GRZQWKURXJKWKHPDQDJHPHQWFKDLQDQGKDYLQJWKHP

 WUDLQHGLQWKHFRUSRUDWHPHWKRGVLVWKDWULJKW"

 $<HV

        4  1RQHRIQRQHRIWKHVKRHSROLFLHVWKDW
          41RQHRIQRQHRIWKHVKRHSROLFLHVWKDW

 ZH YHWDONHGDERXWGLIIHUIURPUHJLRQWRUHJLRQRU

 IURPGLVWULF
   IURPGLVWULFWWRGLVWULFWRUDQ\WKLQJOLNHWKDW"
      P         WWRGLVWULFWRUDQ\WKLQJOLNHWKDW"

         $ :HZHVHQWRXWDSROLF\DSURFHGXUHD
 $:HZHVHQWRXWDSROLF\DSURFHGXUHD

 SURJUDPDQG, FDQ WUHDOO\DWWHVWWRKRZDQ
   SURJUDPDQG,FDQ

 LQGLYLGXDOPDQDJHURUDQDUHDPDQDJHUPLJKWDGG




                                                                                                             ([KLELW
                                                                                                           3DJHRI
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                  *HQH-DPHV)HEUXDU\15&)LOH3DJH

  VRPHWKLQJRUGHOHWHVRPHWKLQJ

         4  %XWWKH\ UHQRWVXSSRVHGWR"
          4%XWWKH\

         $ 7KH\DUHQRWVXSSRVHGWR
  $7KH\DUHQRWVXSSRVHGWR

         4  %HFDXVHWKH\ UHLQWHQGHGWREHFRPSDQ\ZLGH
          4%HFDXVHWKH\

  SROLFLHVDQGSURFHGXUHV"

         $ &RPSDQ\ZLGHSROLFLHVDQGSURFHGXUHV
  $&RPSDQ\ZLGHSROLFLHVDQGSURFHGXUHV

         4$OOULJKW,I\RX GIOLSQRZWR%DWHV

  SDJH$FWXDOO\WKDWPD\EHLQWKHQH[WRQH

  $2ND\

        46RWKLVLV-DFN VVDIHW\SURJUDP

              053$5.(5&DQ\RXZDLWIRUPH"

              05(*$12KVXUH\HDK

              053$5.(5ZKDW"

              05(*$1

 %<05(*$1

        4$OOULJKW6RDVZHZHUHGLVFXVVLQJWKLV

 LV-DFN VVDIHW\SURJUDP7KLVLVWKHZKDW VWKH

 DVIDUDV,XQGHUVWDQGWKLVLVSDUWRIWKH

 WUDLQLQJWKDW VJLYHQWRUHVWDXUDQWPDQDJHUVWRWHOO

 WKHPDERXWWKHVDIHW\SURJUDPLVWKDWULJKW"

 $7KDWZRXOGEHFRUUHFW

        42ND\$QGVRGLG\RXKDYHDQ\LQSXWLQWR

 WKHGHYHORSPHQWRIWKLVWUDLQLQJSURJUDPRUWKLV

 GRFXPHQW"

 $,QGLUHFWO\,KDG'DYH3DUKDPVHUYHRQ




                                                                                                              ([KLELW
                                                                                                           3DJHRI
     Case 3:14-cv-01092-BR      Document 182-1             Filed 05/24/19        Page 165 of 194
                  *HQH-DPHV)HEUXDU\15&)LOH3DJH

  SURJUDPKDVPDGHWKDWQRWWREHWKHFDVHDQ\PRUH"

  $7KDW VH[DFWO\WKHFDVH

         4  'R\RXKDYHDQ\LGHDKRZPXFKVOLSDQG
          4'R\RXKDYHDQ\LGHDKRZPXFKVOLSDQG

  IDOOLQMXULHVZHUHFRVWLQJWKHFRPSDQ\LQWHUPVRI

                      P
  GROODUVEHIRUHZHLPSOHPHQWHGWKLVSURJUDP"

         $ ,I\RXORRNDWWKHQXPEHUVRIRI
         $
  $,I\RXORRNDWWKHQXPEHUVRIRI

  RIZKDWZKDW,ZLOOWHOO\RXLVWKH

  VOLSDQGIDOOVDFFRXQWHGIRUPRUHWKDQSHUFHQWRI

   RIDOOFODLPVDQGVOLSDQGIDOOVKDGD
   RIDOOFODLPVDQGVOLSDQGIDOOVKDGD

 GLVSURSRUWLRQDWHO\KLJKKLJKHUFRVWWKDQDOO

 FODLPV6RGRLQJVRPHWULDQJXODWLRQRIQXPEHUV\RX

 FRXOG\RXFRXOG FRPHXSZLWKDELJQXPEHUWKHUH
   FRXOG\RXFRXOGFRPHXSZLWKDELJQXPEHUWKHUH

        4  ,QH[FHVVRI"
          4,QH[FHVVRI"

         $ ,ZRXOGVD\VR\HV
 $,ZRXOGVD\VR\HV

        4$QGLILI\RXKDGWRHVWLPDWHKRZPXFK

 WKHPDQGDWRU\VKRHSURJUDPLVLVVDYLQJWKH

 FRPSDQ\HYHU\\HDUFRXOGFRXOG\RXFRPHXSZLWK

 VRPHVRUWRIQXPEHU"

 $1RWVLWWLQJKHUHULJKWQRZ

        42ND\, YHJRWDFKHFNOLVWRIGRFXPHQWV

 WRGLVFXVVDQGVRPHRIWKHWRSLFVZHKDYHDOUHDG\

 FRYHUHGLQRWKHUGLVFXVVLRQV6RSOHDVHIRUJLYHPH

 ZKLOH,SDJHWKURXJKKHUH

              2QHTXHVWLRQWKDW,GLGKDYHIRU\RXWKDW

 GRHVQ WLQYROYHDQ\SDUWLFXODUSDJHLV,FDPH




                                                                                                             ([KLELW
                                                                                                           3DJHRI
     Case 3:14-cv-01092-BR      Document 182-1             Filed 05/24/19        Page 166 of 194
                  *HQH-DPHV)HEUXDU\15&)LOH3DJH

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  ,WKHXQGHUVLJQHG-DPLH&DUOVRQDPDYLGHRJUDSKHU

  EHKDOIRIWKH1$(*(/,5(3257,1*&25325$7,21,GRKHUHE\

  FHUWLI\WKDW,KDYHDFFXUDWHO\PDGHWKHYLGHRUHFRUGLQJRI

  WKHGHSRVLWLRQRI*HQH-DPHVLQWKHDERYHFDSWLRQHG

  RQWKHWKGD\RI)HEUXDU\WDNHQDWWKHORFDWLRQRI

  %DOERD$YHQXH6DQ'LHJR&$FRQVLVWLQJRI

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 SDUWLHVLQWKHDFWLRQDQGKDYHQRILQDQFLDOLQWHUHVWLQ

 RXWFRPHRIWKLVPDWWHU

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     Case 3:14-cv-01092-BR      Document 182-1             Filed 05/24/19        Page 167 of 194
                  *HQH-DPHV)HEUXDU\15&)LOH3DJH

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  ,/HR.QLHEHOGRKHUHE\FHUWLI\WKDWSXUVXDQWWR

  5XOHVRI&LYLO3URFHGXUHWKHZLWQHVVQDPHGKHUHLQ

  EHIRUHPHDWWKHWLPHDQGSODFHVHWIRUWKLQWKHFDSWLRQ

  KHUHLQWKDWDWWKHVDLGWLPHDQGSODFH,UHSRUWHGLQ

  VWHQRW\SHDOOWHVWLPRQ\DGGXFHGDQGRWKHURUDOSURFHHGLQJV

  KDGLQWKHIRUHJRLQJPDWWHUDQGWKDWWKHIRUHJRLQJ

  WUDQVFULSWSDJHVFRQVWLWXWHDIXOOWUXHDQGFRUUHFW

 RIVXFKWHVWLPRQ\DGGXFHGDQGRUDOSURFHHGLQJKDGDQGRI

 ZKROHWKHUHRI

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 ,1:,71(66+(5(2),KDYHKHUHXQWRVHWP\KDQGWKLV

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Case 3:14-cv-01092-BR   Document 182-1   Filed 05/24/19   Page 168 of 194




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          DQG&+5,67,1$/8&+$8RQEHKDOI
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                                                                            3DJHRI
     Case 3:14-cv-01092-BR        Document 182-1             Filed 05/24/19          Page 169 of 194
                6KHOO\0RVWHOOHU)HEUXDU\15&)LOH3DJH

  $2ND\

         4,I,VD\WXUQWR%DWHVSDJHLW OO

  LW OOEHWKHVDPH,W OOEHDZLWKDEXQFKRI

  ]HURVEXWWKDWODVWSDUWLVZKDW, PJRLQJWR

  UHIHUWRWKHPDV

  $6XUH

         46RZKHQZHWU\WRILQGWKHPWKDW VZKDW

  WKDW VZKDW\RXFDQORRNDW

               $OOULJKW6RKDYH \RXVHHQWKLVGRFXPHQW
                $OOULJKW6RKDYH\RXVHHQWKLVGRFXPHQW

 EHIRUH"

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        4  2ND\:KDWLVWKLVGRFXPHQW"
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         $ 7KLVLVWKHGUHVVLQJJURRPLQJSROLF\IRU
 $7KLVLVWKHGUHVVLQJJURRPLQJSROLF\IRU

 DOOWKHHPSOR\HHVDWWKHUHVWDXUDQWOHYHO

        4  :DVWKLVLVVXHGGXULQJWKHWLPHWKDW\RX
          4:DVWKLVLVVXHGGXULQJWKHWLPHWKDW\RX

 ZHUHWKHXQLIRUPSHUVRQ"

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 /LNH,VDLGWKHFKDQJHRIWKHXQLIRUPSURJUDP

 DQGDWRQHSRLQWWKHUHZDVDJURRPLQJFKDQJH,

 WKLQNZKHUHLWZDVUHJDUGLQJKDLU6R\RXFRXOG

 KDYHGLIIHUHQWFRORUHGKDLUDQG\RXFRXOGKDYHD




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     Case 3:14-cv-01092-BR        Document 182-1             Filed 05/24/19          Page 170 of 194
                6KHOO\0RVWHOOHU)HEUXDU\15&)LOH3DJH

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  EHKDOIRIWKH1$(*(/,5(3257,1*&25325$7,21,GRKHUHE\

  FHUWLI\WKDW,KDYHDFFXUDWHO\PDGHWKHYLGHRUHFRUGLQJRI

  WKHGHSRVLWLRQRI6KHOO\0RVWHOOHULQWKHDERYHFDSWLRQHG

  PDWWHURQWKHQGGD\RI)HEUXDU\WDNHQDWWKH

  ORFDWLRQRI%DOERD$YHQXH&RUSRUDWH+HDGTXDUWHUV

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 SDUWLHVLQWKHDFWLRQDQGKDYHQRILQDQFLDOLQWHUHVWLQ

 RXWFRPHRIWKLVPDWWHU

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                6KHOO\0RVWHOOHU)HEUXDU\15&)LOH3DJH

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  5XOHVRI&LYLO3URFHGXUHWKHZLWQHVVQDPHGKHUHLQ

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  KHUHLQWKDWDWWKHVDLGWLPHDQGSODFH,UHSRUWHGLQ

  VWHQRW\SHDOOWHVWLPRQ\DGGXFHGDQGRWKHURUDOSURFHHGLQJV

  KDGLQWKHIRUHJRLQJPDWWHUDQGWKDWWKHIRUHJRLQJ

  WUDQVFULSWSDJHVFRQVWLWXWHDIXOOWUXHDQGFRUUHFW

 RIVXFKWHVWLPRQ\DGGXFHGDQGRUDOSURFHHGLQJKDGDQGRI

 ZKROHWKHUHRI

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 WKGD\RI)HEUXDU\

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                                                                                                                  3DJHRI
Case 3:14-cv-01092-BR   Document 182-1   Filed 05/24/19   Page 172 of 194




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          DQG&+5,67,1$/8&+$8RQEHKDOI
          RIWKHPVHOYHVDQGDOORWKHUV
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          FRUSRUDWLRQRI'HODZDUH

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     Case 3:14-cv-01092-BR        Document 182-1             Filed 05/24/19         Page 173 of 194
                6XVDQ3HWWLMRKQ)HEUXDU\15&)LOH3DJH

  IUDQFKLVHHVXQGHUWKHV\VWHPKHUHLQ6DQ'LHJRRU

  GRWKH\GRWKDWRQWKHLURZQ"

  $7KH\ UHWKH\ UHDSSOLHGWKURXJKWKH

  V\VWHP7KH\ UHFDOOHGFDOFJURXSVLQ-DFN V

  7LPHNHHSLQJDQGWKHUHDUHGLIIHUHQWFDOFJURXSV

  EDVHGRQWKHGLIIHUHQWODERUODZV$QGDQG\HDK

  WKH\WKDW VZKDWWKHV\VWHPVUXQUXQVDJDLQVW

         42ND\&DQDPDQDJHURUH[FXVHPH

   &DQDIUDQFKLVHHUHTXHVW WKDW\RXFDOFXODWHWKHLU
  &DQDIUDQFKLVHHUHTXHVWWKDW\RXFDOFXODWHWKHLU

 KRXUVSDLGOHW VVD\EDVHGRQGLIIHUHQWUXOHV"

         $ 7KHUHDUHDFRXSOHRIFRQILJXUDWLRQ
 $7KHUHDUHDFRXSOHRIFRQILJXUDWLRQ

 FKRLFHVWKDWWKH\KDYH2QHZRXOGEHWRFKRRVH

 WKHLUKROLGD\VVR ZKHWKHUWKHLUKROLGD\VDUHSDLG
   WKHLUKROLGD\VVRZKHWKHUWKHLUKROLGD\VDUHSDLG

 RUQRWZKHWKHURU QRWRQFHWKH\UHDFKGDLO\
   RUQRWZKHWKHURUQRWRQFHWKH\UHDFKGDLO\

 RYHUWLPHLQ&DOLIRUQLDWKH\ UHSDLGDWFRQWLQXH

 WREHSDLGDWWLPHDQGDKDOIRUEXPSHGLQWRGRXEOH

 WLPHZKLFKLVWKH FRPSDQ\GHFLVLRQ$QGWKHQWKHUH
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 DUHVRPHDXWRPDWLF SUHPLXPVWKDWZHDSSO\IRU
   DUHVRPHDXWRPDWLFSUHPLXPVWKDWZHDSSO\IRU

 FRPSDQ\UHVWDXUDQWVWKDWWKH\FDQFKRRVHWRHLWKHU

 XVHRUQRWXVH7KRVHZRXOGEHWKHWKHRQO\

 FKRLFHVWKH\KDYHUHJDUGLQJKRZWKHV\VWHPZRXOG

 FDOFXODWHWKHLUHPSOR\HHV SD\

        4  2ND\6RLI, PDIUDQFKLVHRZQHU,
          42ND\6RLI,

       WVD\-DFN,Q7KH%R[,ZDQW\RXWR
 FDQ WVD\-DFN,Q 7KH%R[,ZDQW\RXWR

 DQ\WKLQJOHVVWKDQPLQXWHV,ZDQW\RXWRFRXQW




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                                                                                                                 3DJHRI
     Case 3:14-cv-01092-BR        Document 182-1             Filed 05/24/19         Page 174 of 194
                6XVDQ3HWWLMRKQ)HEUXDU\15&)LOH3DJH

  DVDSDLGEUHDNLQVWHDGRIWKHPLQXWHGHIDXOW

  WKDW VQRWDQRSWLRQWKDW VDYDLODEOHWRWKHP"

         $ 1R
  $1R

         42ND\$QRWKHUTXHVWLRQWKDW0V%XUWFKHWW

  SXQWHGWR\RXZDVZKHWKHUXQGHUWKH.URQRV

  V\VWHPGLGWKH.URQRVVRIWZDUHDWWKHEDFNRIILFH

  3&LQHDFKUHVWDXUDQWLIDPDQDJHUPDGHFKDQJHV

  WRWKHSXQFKHVEHIRUHWKHWLPHVZHUHFRPPXQLFDWHGWR

  6DQ'LHJRWRSD\UROOGLGWKRVHFKDQJHVJHWVHQW

 GRZQKHUHRUZDVRQO\WKHILQDOWLPHVJHWVHQW"

 $,DPQRWDQH[SHUWRQWKH.URQRV

        46XUH

 $V\VWHP%XWP\XQGHUVWDQGLQJDVWRKRZ

 LWZRXOGZRUNLVWKH\ZRXOGPDNHFKDQJHVWKDWFRXOG

 EHSROOHGIURPWKHLUV\VWHPEXWWKDWWKH\ZHUHQ W

 VHQWHYHU\SD\SHULRG$WWKHHQGRIWKHSD\SHULRG

 WKH\GLGDSURFHVVFDOOHGPDLOLQJWKHLUWLPHFDUGV

 7KDWWRRNWKHLUILQDOWLPH%XW,EHOLHYHFKDQJHV

 WRSXQFKHVFRXOGEHDFFHVVHGYLDDQRWKHUZD\%XW

 DJDLQWKDW VQRWP\

        47UDLQLQJ"

 $DUHDRIH[SHUWLVH,W VMXVWP\

 XQGHUVWDQGLQJ

        4$QG,DSSUHFLDWHWKDW, PRQO\DVNLQJ

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                                                                                                                  ([KLELW
                                                                                                                 3DJHRI
     Case 3:14-cv-01092-BR        Document 182-1             Filed 05/24/19         Page 175 of 194
                6XVDQ3HWWLMRKQ)HEUXDU\15&)LOH3DJH

  WHVWLQJ<RX\RXEHFRPHIDPLOLDUZLWKORRNLQJDW

  VOLSUHVLVWDQWVKRHV7KHUH VDVROHWKDW\RXFDQ

  XVXDOO\JHWDJHWDJRRGLGHDIURPEXWLW V

  GLIILFXOWWRLQVWUXFWWKHPRQKRZWRILJXUHWKDW

  RXWVRZHZRUNZLWKWKHPZKHQWKHQHHGFRPHVXS

         4  2ND\+RZDERXWLQWHUPVRIDVVHVVLQJ
          42ND\+RZDERXWLQWHUPVRIDVVHVVLQJ

   ZKHWKHUDJLYHQSDLURI VKRHVPLJKWEHWRRZRUQWR
  ZKHWKHUDJLYHQSDLURIVKRHVPLJKWEHWRRZRUQWR

  EHYHU\VOLSUHVLVWDQWDQ\PRUH",VWKDWVRPHWKLQJ

  WKDWWKHPDQDJHUVDUHH[SHFWHGWRORRNDWRU

 HYDOXDWH"

         $ , YHQHYHUVHHQDQ\WKLQJDQ\
 $,

 LQVWUXFWLRQVWRWRWKDW

        4  2ND\+RZDERXWLIWKHVKRHVDUHMXVW
          42ND\+RZDERXWLIWKHVKRHVDUHMXVW

 UDWW\ORRNLQJ",VWKDW VRPHWKLQJWKDWWKH\ZRXOGEH
   UDWW\ORRNLQJ",VWKDWVRPHWKLQJWKDWWKH\ZRXOGEH

 DVNHGWR

         $ <HDK:HDVNWKH\QHHGWRORRNFOHDQ
 $<HDK:HDVNWKH\QHHGWRORRNFOHDQ

 DQGQHDWDQGSUHVHQWDEOH7KDW VLQWKH

 GUHVVLQJJURRPLQJSROLF\6R,ZRXOGWKLQNWKDW

 ZRXOGIDOOXQGHUWKDWFULWHULD

        42ND\<RXZHUHLQWKHFRPSDQ\ZKHQWKH

 VZLWFKZDVPDGHWRKDYHPDQGDWRU\VOLSUHVLVWDQW

 VKRHVRUVKRHJXDUGVIRUDOORIWKHHPSOR\HHV:HUH

 \RXDZDUHRIWKDWSROLF\DVLWZDVEHLQJ

 LPSOHPHQWHG":HUH\RXSDUWRIWKDW"

 $,ZDVDZDUHRILWEXW,ZDVQRWSDUWRI




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     Case 3:14-cv-01092-BR        Document 182-1             Filed 05/24/19         Page 176 of 194
                6XVDQ3HWWLMRKQ)HEUXDU\15&)LOH3DJH

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  ,WKHXQGHUVLJQHG-DPLH&DULVRQDPDYLGHRJUDSKHU

  EHKDOIRIWKH1$(*(/,5(3257,1*&25325$7,21,GRKHUHE\

  FHUWLI\WKDW,KDYHDFFXUDWHO\PDGHWKHYLGHRUHFRUGLQJRI

  WKHGHSRVLWLRQRI6XVDQ3HWWL-RKQLQWKHDERYHFDSWLRQHG

  PDWWHURQWKHWKGD\RI)HEUXDU\WDNHQDWWKH

  ORFDWLRQRI%DOERD$YH6DQ'LHJR&$

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 ,IXUWKHUFHUWLI\WKDW,DPQRWUHODWHGWRDQ\RIWKH

 SDUWLHVLQWKHDFWLRQDQGKDYHQRILQDQFLDOLQWHUHVWLQ

 RXWFRPHRIWKLVPDWWHU

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                6XVDQ3HWWLMRKQ)HEUXDU\15&)LOH3DJH

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  ,/HR.QLHEHOGRKHUHE\FHUWLI\WKDWSXUVXDQWWR

  5XOHVRI&LYLO3URFHGXUHWKHZLWQHVVQDPHGKHUHLQ

  EHIRUHPHDWWKHWLPHDQGSODFHVHWIRUWKLQWKHFDSWLRQ

  KHUHLQWKDWDWWKHVDLGWLPHDQGSODFH,UHSRUWHGLQ

  VWHQRW\SHDOOWHVWLPRQ\DGGXFHGDQGRWKHURUDOSURFHHGLQJV

  KDGLQWKHIRUHJRLQJPDWWHUDQGWKDWWKHIRUHJRLQJ

  WUDQVFULSWSDJHVFRQVWLWXWHDIXOOWUXHDQGFRUUHFW

 RIVXFKWHVWLPRQ\DGGXFHGDQGRUDOSURFHHGLQJKDGDQGRI

 ZKROHWKHUHRI

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Case 3:14-cv-01092-BR   Document 182-1   Filed 05/24/19   Page 178 of 194




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     Case 3:14-cv-01092-BR        Document 182-1            Filed 05/24/19         Page 179 of 194
                /HDQQH7HOOH])HEUXDU\15&)LOH3DJH

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         4$QGLVWKHUHDQ\NLQGRIUHEDWHRU

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        4  2ND\%HFDXVH ZH YHKDGVRPHSHRSOH
          42ND\%HFDXVHZH

 WHVWLI\WKDWDQDUUDQJHPHQWWKDWHDFKRIWKHVKRH

 PDQXIDFWXUHUVKDVKDGZLWKWKHFRPSDQ\LVWKDWWKH\

 ZLOOSURYLGHDUHEDWHRI WRWKHFRPSDQ\IRUHYHU\
   ZLOOSURYLGHDUHEDWHRIWRWKHFRPSDQ\IRUHYHU\

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 SDLURIVKRHVWKDWDQHPSOR\HHSXUFKDVHVWKURXJKD

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        4  2ND\$QGEXWWKDWGRHVQ WJREDFNWR
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 WKHHPSOR\HHWKDWMXVWVWD\VZLWKLQWKHFRPSDQ\"

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        4$WVRPHSRLQW,XQGHUVWDQGWKHUHWRKDYH

 EHHQDWHDPDVVHPEOHGRUDSURMHFWLQLWLDWHGIRU

 RQOLQHRUGHULQJIRU6KRHV)RU&UHZV

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     Case 3:14-cv-01092-BR        Document 182-1            Filed 05/24/19         Page 180 of 194
                /HDQQH7HOOH])HEUXDU\15&)LOH3DJH

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  FHUWLI\WKDW,KDYHDFFXUDWHO\PDGHWKHYLGHRUHFRUGLQJRI

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                /HDQQH7HOOH])HEUXDU\15&)LOH3DJH

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  DQGIRUWKH6WDWHRI&DOLIRUQLDGRKHUHE\FHUWLI\

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  7+$7WKHIRUHJRLQJSURFHHGLQJVZHUHUHSRUWHGE\PH

  VWHQRJUDSKLFDOO\DQGODWHUWUDQVFULEHGXQGHUP\GLUHFWLRQ

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Case 3:14-cv-01092-BR   Document 182-1   Filed 05/24/19   Page 182 of 194




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                                                                             Exhibit 15
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  WKHUHVWDXUDQWVRWKRVHEUHDNVDUHSDLG

  %XWEUHDNVWDNHQ,EHOLHYHLW VIURP

  WRR FORFNLQWKHPRUQLQJDUHSDLGEUHDNV

  UHJDUGOHVVLIWKH\ UHFORFNHGLQDQGRXW7KHLGHD

  LVWKDWWKHHPSOR\HHLVVXSSRVHGWRFORFNRXWIRU

  WKRVHEUHDNVDQGWKDWWKH\ZRXOGQHHGWRFORFNEDFN

  LQIURPWKHLUEUHDNVLIWKH\ZHUHQRWDEOHWRWDNHD

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         4,IWKH\GRQ WFORFNRXWLVWKDWEUHDN

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        4JLYHQWLPHWKDWZRXOGEHDJDLQVWWKH

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 +RZHYHUWKHHPSOR\HHZRXOGEHSDLG

 WKRXJK7KH\ UHMXVWRQDEUHDN7KDWZRXOGEHDQ

 DGPLQLVWUDWLYHIXQFWLRQ

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 $1RWDQDFWXDOZKHUHWKH\ UHJRLQJWR

 JHWSDLGIRUWKHKRXUVZRUNHG

        4  $QGWKHQVRDVVXPLQJDQGKRZKRZ
          4$QGWKHQVRDVVXPLQJDQGKRZKRZ




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                -HIIUH\7HQQDQW-DQXDU\15&)LOH3DJH

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  PDNHVXUHWKDWWKH\ UHFRUUHFW"

         $ :HOOLQRUGHUWRUHFRQFLOHWKHV\VWHP
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  DQ RGG QXPEHURISXQFKHV:KHQDQHPSOR\HHFORFNV
   DQRGGQXPEHURISXQFKHV:KHQDQHPSOR\HHFORFNV

  RXWRQO\GRHVRQHSXQFKLQEHWZHHQDQGWKHQDQRWKHU

  EUHDNRUVRPHWKLQJLVZURQJDQGWKDWVKRRWVRXWDQ

  HUURUUHSRUW

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 GRFXPHQWDWLRQDVZHOODVIDUDVWKDWSXQFKKDVEHHQ

 FKDQJHG

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 GRZQWKDW,KDGWRFKDQJH-HII VSXQFKIRUOXQFK

 $QGWKHQWKHUH VDIRUPWKDWZHKDYHDVIDUDV

 ZKHWKHUZH UHDGGLQJRUGHOHWLQJLWZKDWWKHUHDVRQ

 ZDV$QGWKHQWKDWHPSOR\HHLVLVUHTXLUHGWR

 VLJQWRDFNQRZOHGJHWKDWWKDWSXQFKKDVEHHQFKDQJHG

 IRURXUUHFRUGNHHSLQJDVIDUDVWKDWZD\WKHUH VVR

 QRGLVSXWHZKRJRWSDLGRUZK\WKLQJVZHUHFKDQJHG

        4$QGWKDW VDSK\VLFDOSLHFHRISDSHUWKDW

 \RXZULWHWKRVHFKDQJHVRQ"

 $&RUUHFW

        4:KHUHDUHWKRVHNHSW"




                                                                                                                Exhibit 15
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                -HIIUH\7HQQDQW-DQXDU\15&)LOH3DJH

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  DUHYLRODWLRQVRIUHVWDXUDQWSROLFLHVDQGUXOHVDQG

  ZKLFKDOVRPD\UHVXOWLQGLVFLSOLQDU\DFWLRQ

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 ZDUQLQJ\RXDKHDGRIWLPH\RXFDQEHGLVFLSOLQHG

 IRU"

 $&RUUHFW

        4  2ND\$QGWKDWOLWWOHWKDWOLWWOHLFRQ
          42ND\$QGWKDWOLWWOHWKDWOLWWOHLFRQ

 LQWKHXSSHUULJKWKDQGFRUQHURIWKHSDJHZKHUHLW

 VD\VFRPSDQ\,QRWLFHRQVRPHRIWKHVHSDJHV

 WKDWOLWWOHWULDQJOHVD\VV\VWHPRQLW:KDW

 ZRXOGEHWKHGLIIHUHQFH EHWZHHQWKRVHWZR"
   ZRXOGEHWKHGLIIHUHQFHEHWZHHQWKRVHWZR"

         $ 0\XQGHUVWDQGLQJZRXOGEHGLIIHUHQFHLQ
 $0\XQGHUVWDQGLQJZRXOGEHGLIIHUHQFHLQ

 FRPSDQ\DQGIUDQFKLVH $ORWRIWKLVVDPH
   FRPSDQ\DQGIUDQFKLVH$ORWRIWKLVVDPH

 LQIRUPDWLRQLVSURYLGHGWRDIUDQFKLVHFRPPLWWHHDV

 ZHOO$QGWKLVZRXOGKDYHEHHQWKLVSDUWLFXODU

 GRFXPHQWZDVDSSOLHGWRWKHFRPSDQ\RSHUDWLRQV

        4  2QO\WKHFRPSDQ\QRW
          42QO\WKHFRPSDQ\QRW

         $ 7KDW VP\XQGHUVWDQGLQJ\HV7KDW VQRW
 $7KDW

 VRPHWKLQJWKDW VLQWKHV\VWHP7KDWZRXOGEHD




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                -HIIUH\7HQQDQW-DQXDU\15&)LOH3DJH

         4  2ND\
          42ND\

         $ 8KKXK
  $8KKXK

         4  6R,PHDQ,FDQLPDJLQHWKLQJVOLNH
          46R,PHDQ,FDQLPDJLQHWKLQJVOLNH

  XQLIRUPV-DFN,Q7KH%R[ZRXOGZDQWDOORILWV

   VWRUHWRDSSHDUWKHVDPHWR WKHSXEOLFVRWKDWWKH
  VWRUHWRDSSHDUWKHVDPHWRWKHSXEOLFVRWKDWWKH

  SXEOLFZRXOGQ WNQRZZKHWKHULWZDVDIUDQFKLVH

  VWRUHRUDFRPSDQ\VWRUH$QGVRWKDWPLJKWEHD

  V\VWHPZLGHUHTXLUHPHQW:KHUHDV-DFN,Q7KH%R[

  ,QFWKHFRPSDQ\PLJKWKDYHLWVRZQKXPDQ

 UHVRXUFHVWKLQJVRUVRPHWKLQJWKDW

              ,VWKDW

         $ 7KDW VP\XQGHUVWDQGLQJDVZHOO
 $7KDW

        4$OOULJKW6ROHW VORRNDWJHQHUDO

 FRQGXFWRQWKLVSDJHQXPEHUWKUHH,WVD\V1RW

 FRRSHUDWLQJZLWKIHOORZHPSOR\HHVRUPDQDJHPHQWRU

 LQVXERUGLQDWLRQQRWIROORZLQJGLUHFWLRQV

              'RHVWKDWPHDQWKDWLIDQHPSOR\HHGRHVQ W

 IROORZWKHGLUHFWLRQVRIWKHLUVXSHUYLVRUWKH\FRXOG

 EHGLVFLSOLQHG"

 $<HDK,WKLQNLQWKHWLWOHLWVD\V

 JHQHUDOFRQGXFWVRPD\EHLIZHKDGDQ\WKLQJWKDW

 ZDVDYLRODWLRQRIWKHVH\RXZDQWWRLQYHVWLJDWHWR

 ILJXUHRXWWKHVHYHULW\RILWDQGGHWHUPLQHZKDW

 FRXUVHRIDFWLRQDVIDUDVVRPHW\SHRI

 GRFXPHQWDWLRQRUZKHWKHULW VDFWXDOO\DWHUPLQDWLRQ




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               -HIIUH\7HQQDQW-DQXDU\15&)LOH3DJH

  WKLVRQWKHFRPSXWHUEDVHGWUDLQLQJRULVWKLVRQ

  WKHRIILFHFRPSXWHU"

  $1RLWZRXOGQ WKDYHEHHQFRPSXWHUEDVHG

  WUDLQLQJDWWKLVWLPH7KLVZRXOGKDYHEHHQWKH

  UHVWDXUDQW3&

          46RQHZKLUHVVDWGRZQDWWKHUHVWDXUDQW

  3&DQGWKH\ GJRWKURXJKWKHVHSROLFLHVDQGVLJQ

  WKHP"

  $&RUUHFW

         4  $QG, GOLNHWRGLUHFW\RXUDWWHQWLRQQRZ
           4$QG,

 WRWKHRQGXW\PHDOSROLF\GRZQDWWKHERWWRP

 :RXOG\RXMXVWUHDGWKDWIRUXVIRUWKHUHFRUG"

         $ $OOULJKW$VLWVD\VKHUHRQWKH
 $$OOULJKW$VLWVD\VKHUHRQWKH

 VWDWHPHQW,KHUHE\DJUHHZLWKP\HPSOR\HUWKDWRQ

 WKRVHVSRUDGLFRFFDVLRQVZKHUHWKHQDWXUHRIP\ZRUN

 SUHYHQWVPHIURPEHLQJUHOLHYHGRIDOOGXWLHVGXULQJ

 P\ UHTXLUHGPHDOSHULRG,VKDOOEHSDLGIRUWKRVH
   P\UHTXLUHGPHDOSHULRG,VKDOOEHSDLGIRUWKRVH

 PHDOSHULRGV,PD\UHYRNHWKLVDJUHHPHQWLQ

 ZULWLQJDWDQ\WLPH

         4  2ND\,VWKDW\RXXQGHUVWDQGWKDWWR
           42ND\,VWKDW\RXXQGHUVWDQGWKDWWR

 EHWKHSROLF\VWLOO"

         $ <HDK<RXZRXOGJREDFNDQGFORFNRQDQG
 $<HDK<RXZRXOGJREDFNDQGFORFNRQDQG

 EH SDLG
   EHSDLG

         42ND\'R\RXNQRZZKHWKHUHPSOR\HHV

 UHFHLYHGDFRS\RIDQ\RIWKHVHDJUHHPHQWVRU




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  DFWLRQUHFRUG'RHVWKDWORRNULJKWWR\RX"

  $8KKXK&RUUHFW

         47KHQXPEHULVDOLWWOHEOXUU\LQWKHXSSHU

  OHIWKDQGFRUQHU,VWKDW3"

  $<HDK

         4,VWKDWDIRUPWKDWZDVILOOHGRXWZKHQ

  HPSOR\HHVUHFHLYHGGLVFLSOLQH"

  $<HDKWKDWWKDWFRQWLQXHVWREHWKH

  VWDQGDUGIRUPWRGD\

        4'RWKH\GRWKDWRQWKHFRPSXWHUQRZ"

 $7KLVZRXOGVWLOOEHKDQGZULWWHQ

        4$QGDUHWKRVHNHSWDWWKHUHVWDXUDQWOHYHO

 RUDWFRUSRUDWH"

 $7KHVHZRXOGEHNHSWDWWKHUHVWDXUDQW

 OHYHOWRGHDOZLWKUHVWDXUDQWHPSOR\HHV7RGHDO

 ZLWKWKHPDQDJHUWKHPDQDJHURQHVZRXOGEHNHSWDW

 WKHFRUSRUDWHOHYHO

        4/HW VORRNDWSDJH

 $ :LWQHVVFRPSOLHG

        4  %DWHVSDJHLVDVLPLODUQHZKLUH
          4%DWHVSDJHLVDVLPLODUQHZKLUH

 UHSRUWWRWKHRQHZHVDZEHIRUH,W VDQRWKHURQ

 GXW\PHDOSROLF\VLJQHGE\1LFROH*HVVHOHZLWKD

 GLIIHUHQWGDWH

               'RHPSOR\HHVGRWKLVHYHU\WLPHWKH\DUH

 UHKLUHG"




                                                                                                                Exhibit 15
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               -HIIUH\7HQQDQW-DQXDU\15&)LOH3DJH

         $ <HDK7KLVZDVDQHZDQHZKLUH
  $<HDK7KLVZDVDQHZDQHZKLUH

  DJUHHPHQW

         4  2ND\6RLIVRPHERG\ZRUNVIRU-DFN,Q
          42ND\6RLIVRPHERG\ZRUNVIRU-DFN,Q

   7KH%R[DQGWKHQOHDYHV DQGFRPHVEDFNWKH\ILOO
  7KH%R[DQGWKHQOHDYHVDQGFRPHVEDFNWKH\ILOO

  RXWDQHZRQHRIWKHVHDJUHHPHQWV"

         $ 7KDWZRXOGEHP\XQGHUVWDQGLQJ
  $7KDWZRXOGEHP\XQGHUVWDQGLQJ

         42ND\$QGWKLVRQHLVDOLWWOHGLIIHUHQW

  WKDQWKHRQHEHIRUH,WGRHVQ WKDYHWKHRQ

  ERDUGLQJKDQGERRNDFNQRZOHGJHPHQW6RWKHVH

 WKHVHPD\FKDQJHRYHUWLPHWKHWKLQJVWKDWDUH

 LQFOXGHGLQKHUH"

 $:HOOLW VOLNHO\ZHZHQWWRWKHFRPSXWHU

 EDVHGWUDLQLQJUHSODFHGWKHHPSOR\HHKDQGERRN

        4,VHH2ND\$OOULJKW/HW VJRWR

 %DWHV

 $ :LWQHVVFRPSOLHG

        4,VHHDQDPHRQWKHWRSRIWKLVSDJH

 6KDXQD.LOSDWULFN'R\RXNQRZZKRWKDWLV"

 $8KKXK3UHYLRXVDUHDFRDFK

        4)RUWKLVDUHD"

 $:RUNHGLQWKLVDUHD\HV

        4'R\RXNQRZLIVKHLVVWLOOHPSOR\HGE\

 -DFN,Q7KH%R["

 $1RVKH VQRW

        4'R\RXNQRZZKHUHVKHOLYHV"




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               -HIIUH\7HQQDQW-DQXDU\15&)LOH3DJH

  FDQ

         4:LWKDWRXFKVFUHHQ"

  $<HDKWRXFKVFUHHQ

         4*RWRLI\RXZRXOG%DWHVSDJH

  $ :LWQHVVFRPSOLHG

         4  $WWKHWRSRIWKHSDJHWKHUHLWWDONV
          4$WWKHWRSRIWKHSDJHWKHUHLWWDONV

  DERXWORFNRXWVIRUUHVWDQGPHDOSHULRGV,WKLQN

  ZHVWDUWHGWRWDONDERXWWKLVEHIRUHWKDWWKHQHZ

  -DFN VWLPHNHHSLQJV\VWHPLVVHWXSWRSUHYHQW

 HPSOR\HHVIURPFORFNLQJEDFNLQXQWLOWKH\ YH

 UHFHLYHGWKHLUIXOOPLQXWHRUPLQXWHUHVW

 SHULRGLVWKDWULJKW"

         $ 7KHRQO\UHDVRQDQHPSOR\HHZRXOGUHWXUQ
 $7KHRQO\UHDVRQDQHPSOR\HHZRXOGUHWXUQ

 IURPDPLQXWHRUPLQXWHDKHDGRIWLPHZRXOGEH

 GXHWRWKHPDQDJHURQGXW\KDGWROGWKHPWRFRPH

 EDFNWRZRUN7KLVZDVWRSUHYHQWSHRSOHIURPVLPSO\

 FRPLQJLQDQGFORFNLQJLQHDUO\IURPWKHLU

 GHVLJQDWHGPHDOEUHDN

        42ND\$QG,WKLQNZHWDONHGDERXWWKDWRQ

 WKHSUHYLRXVV\VWHPQRRQHFRXOGFORFNLQEHIRUH

 PLQXWHVEXWWKDWDQ\WKLQJDIWHUWKDWZDVZDV

 ILQHWKHUHZDVQRRYHUULGHLVWKDWDFFXUDWH"

 $7KDWLVP\XQGHUVWDQGLQJRIWKHWLPH

 FORFN

        42ND\:RXOG\RXJRWRSDJHSOHDVH




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               -HIIUH\7HQQDQW-DQXDU\15&)LOH3DJH

  $ :LWQHVVFRPSOLHG

         4  6HFRQGER[IURPWKHWRSWKHUHLWVD\V
          46HFRQGER[IURPWKHWRSWKHUHLWVD\V

  $VVLJQPHDOSHULRGVDQGEUHDNV:RXOG\RXUHDG

  ZKDWLWVD\VXQGHUQHDWKWKHUH"

         $ <HDKXQGHUDVVLJQPHDOSHULRGVDQG
  $<HDKXQGHUDVVLJQPHDOSHULRGVDQG

  EUHDNV$OZD\VDVVLJQEUHDNV 5HPHPEHUWKH
   EUHDNV$OZD\VDVVLJQEUHDNV5HPHPEHUWKH

  VFKHGXOHLVXVHGIRUSODQQLQJDQGEUHDNVVKRXOGEH

  DGPLQLVWHUHGLQFRQVLGHUDWLRQRIWKHQHHGVRIWKH

  EXVLQHVV

        4  7HOOPHZKDWWKDWPHDQVWR\RX
          47HOOPHZKDWWKDWPHDQVWR\RX

         $ ,WKLQNWKDWFRQWLQXHVRXWIURPZKDW,
 $,WKLQNWKDWFRQWLQXHVRXWIURPZKDW,

 MXVWVDLG,W VWKDWWKHUHVWDXUDQWLVLW VEHHQ

 ZULWWHQDVIDUDVWKHVFKHGXOHEXWWKHUH V

          VDOZD\VWKLQJVWKDW PD\EHZKHQ\RX UHWKH
 WKHUH VDOZD\VWKLQJVWKDWPD\EHZKHQ\RX

 SHUVRQLQFKDUJH\RXKDYH WRPDNHWKHEHVWGHFLVLRQ
   SHUVRQLQFKDUJH\RXKDYHWRPDNHWKHEHVWGHFLVLRQ

 LQWKHLQWHUHVWRIWKHEXVLQHVVDQGPD\EHLW V

 EHFRPHYHU\EXV\LQWKHPRUQLQJ7U\LQJWRILJXUH

 RXWZKHQWKHVHEUHDNVVKRXOGJRRXW\RXNQRZPLJKW

 PHDQ\RXGHYLDWHIURPWKDW VDLGVFKHGXOH
   PHDQ\RXGHYLDWHIURPWKDWVDLGVFKHGXOH

        4  $UHWKH\DXWKRUL]HGWR DVNVRPHRQH
                                                HWRFRPH
          4$UHWKH\DXWKRUL]HGWRDVNVRPHRQHWRFRPH

 EDFNHDUO\IURPDPHDOSHULRGIRUH[DPSOHLILW V

 UHDOO\EXV\"

         $ <HV
 $<HV

        4  $QGZRXOGWKDWEHOLNH ZHVDZHDUOLHUZLWK
          4$QGZRXOGWKDWEHOLNHZHVDZHDUOLHUZLWK

 WKHRQGXW\PHDOSROLF\ZKHUHWKH\ZRXOGEHDEOHWR




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               -HIIUH\7HQQDQW-DQXDU\15&)LOH3DJH

  PDNHWKDWMXGJPHQWFDOOZH OOSD\WKLVSHUVRQIRU

  WKHHQWLUHPHDOEUHDNEHFDXVHZHQHHGWKHPQRZIRU

  WKHWKHUHVWDXUDQW"

         $ <HDKDQGWKHSHUVRQLQFKDUJHZRXOGKDYH
  $<HDKDQGWKHSHUVRQLQFKDUJHZRXOGKDYH

  WR PDNHWKDWW\SHRIGHFLVLRQ7KDWGRHVQ WQHJDWH
   WRPDNHWKDWW\SHRIGHFLVLRQ7KDWGRHVQ

  WKHIDFWWKDWWKH\ZRXOGQHHGDIXOOEUHDNVWLOO

         47KLVLVDJRRGWLPHIRUDEUHDN

                7+(9,'(2*5$3+(57KHWLPHLV

  :HDUHRIIWKHUHFRUG

                 :KHUHXSRQDEULHIUHFHVVZDVWDNHQ

               7+(9,'(2*5$3+(5:HDUHEDFNRQWKH

 UHFRUG7KLVPDUNVWKHEHJLQQLQJRIYLGHRQXPEHU

 WKUHHLQWKHGHSRVLWLRQRI-HII7HQQDQW7KHWLPH

 LV

 %<05(*$1

        4$OOULJKW0U7HQQDQWZHDUHVWLOO

 WDONLQJDERXWWKHWUDLQLQJPDWHULDOVIRUWKH

 GLIIHUHQWOHYHOVRIPDQDJHU,I\RXZLOOIOLSWR

 %DWHVSDJHSOHDVH

 $([FXVHPH

        4<HDK1R,WKLQNZH UHRQWRWKHQH[W

 YROXPH,FDQRQO\ILWSDJHVSHUQRWHERRNVR

 WKDQNV

 $<RXVDLG"

        4<HVSOHDVH




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                                                                                                              Page 12 of 14
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               -HIIUH\7HQQDQW-DQXDU\15&)LOH3DJH

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  FHUWLI\WKDW,KDYHDFFXUDWHO\PDGHWKHYLGHRUHFRUGLQJRI

  WKHGHSRVLWLRQRI-HII7HQQDQWLQWKHDERYHFDSWLRQHG

  PDWWHURQWKHVWGD\RI-DQXDU\WDNHQDWWKH

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                                                                                                                Exhibit 15
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               -HIIUH\7HQQDQW-DQXDU\15&)LOH3DJH

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  WKH5XOHVRI&LYLO3URFHGXUHWKHZLWQHVVQDPHGKHUHLQ

  DSSHDUHGEHIRUHPHDWWKHWLPHDQGSODFHVHWIRUWKLQWKH

  FDSWLRQKHUHLQWKDWDWWKHVDLGWLPHDQGSODFH,

  LQVWHQRW\SHDOOWHVWLPRQ\DGGXFHGDQGRWKHURUDO

  SURFHHGLQJVKDGLQWKHIRUHJRLQJPDWWHUDQGWKDWWKH

  IRUHJRLQJWUDQVFULSWSDJHVFRQVWLWXWHDIXOOWUXHDQG

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